             Amiad U.S.A., Inc.
                    v.
         Advanced Water Technologies

                       No. 18-cv-520

Amiad U.S.A., Inc’s Brief Opposing AWT’s
 Motion to Dismiss or in the Alternative to
                Transfer

                       Exhibit A




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                      IN THE UNITED ST ATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AMIAD U.S.A., INC.,                                No. I 8-cv-520

                     Plaintiff,

             v.
ADVANCED WATER TECHNOLOGIES
INC.,

                    Defendant.


                        DECLARATION OF MATTHEW MILES

      J. My name is Matthew Miles. I am the Director of Finance/Officer-Secretary of Amiad
         U.S.A., Inc. ("Amiad").

      2. I am a resident of Mecklenburg County, North Carolina.

      3. I have personal knowledge of the facts set forth in this Declaration, except for those
         assertions made upon information and belief.

      4. Amiad is incorporated in California, but has its principal place of business m
         Mooresville, Iredell County, North Carolina.

      5. Amiad sells industrial, municipal, irrigation, ballast water, Oil & Gas and domestic
         water filtration systems from its facility in North Carolina.

      6. Amiad was initially incorporated in California, but moved its headquarters to North
         Carolina in 20 I I.

      7. In 2005, Amiad entered into the Agreement (attached to the Complaint, and to this
         Declaration, as Exhibit 1) with Advanced Water Technologies, Inc. ("A WT")
         (sometimes referred to as Better Waters), a New York corporation.

      8. As the Agreement states, A WT was given the exclusive right to sell Amiad's water
         filtration systems in the New York City area subject to certain terms, including an
         agreed sales/quota for 2005 only.

      9. The Agreement expressly contemplated that the parties would negotiate and agree
         upon sales/quota for subsequent years, providing that "A WT must purchase an agreed
         $volume from Amiad on an annual basis .. ." and "the annual increase in sales/quota
         should be a reasonable number and will be jointly agreed between Amiad and AWT."
         For the year 2005, that number was specifically set at $55,000 USO.




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          I0. The Agreement provides an automatic right of renewal only if A WT meets the agreed
              sales/quota for each subsequent year. Although the parties attempted to negotiate the
              annual increase in sales/quota for subsequent years, as detailed below, they were
              unable to do so. Accordingly, A WT has no automatic right of renewal.

          11. While the Agreement was not subject to automatic renewal, A WT continued to
              purchase Amiad's products from Amiad in North Carolina. AWT would send
              purchase orders to Amiad in North Carolina. Invoices for these products were then
              sent to A WT by Amiad from North Carolina, noting Amiad's location in North
              Carolina. The products were then shipped from Amiad in North Carolina to A WT in
              New York. As more fully discussed in Paragraph 20 below, A WT would sometimes
              send products to Amiad in North Carolina to integrate with its filters and send back to
              AWT in New York.

          12. Although AWT's purchase orders reflect an address for Amiad in Chicago, that is
              neither Amiad's location nor the location where the purchase orders were sent.
              Instead, the Chicago address is simply the address of Amiad' s bank's (PNC Bank)
              lockbox where PNC receives payments sent to Amiad. It seems that A WT simply has
              that address listed in its system. Amiad has no presence in Chicago. A WT would not
              send the purchase orders to that address. Instead, A WT would typically send the
              purchase orders to Amiad via email. AWT was well aware that Amiad was located in
              North Carolina and not Chicago.

          13 . From 2011 until present, AWT purchased the following volume of products from
               Amiad in North Carolina, which products were shipped from North Carolina:

                 a. 2011 : $277,900
                 b. 2012: $179,573
                 c. 2013: $250,206
                 d. 2014: $975,100
                 e. 2015: $431 ,919
                 f. 2016: $325,724
                 g. 2017: $132,679

          14. In 2015, well after Am iad had moved to North Carolina, Amiad and AWT attempted
              to renegotiate the terms of their contract. The email correspondence attached to this
              Declaration as Exhibit 2 shows extensive discussion between Sharon Cohen, then
              president of Amiad and Matt Kaye, president of A WT. At the bottom of each of Mr.
              Cohen's emails is stated the location of Amiad at 120 J Talbert Rd., Mooresville NC
              28117.

          15. The parties' negotiations were very detailed. For example, Mr. Kaye's June 24, 2015
              email, in which he inserted comments into the body of Mr. Cohen's June 16, 2015
              email, discussed, among other things, the following terms:



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                 a.   The relationship between the parties;
                 b.   Warranty issues;
                 c.   Invoicing;
                 d.   Payment terms;
                 e.   Late fees;
                 f.   Exclusivity;
                 g.   Territory;

          16. On October 13, 2015, the parties met, upon information and belief, in New York, to
              continue negotiating the terms of their business relationship. However, upon
              information and belief, Mr. Kaye visited North Carolina on at least one occasion
              during the 2015-2016 contract negotiations.

          17. On December 14, 2015, Mr. Cohen sent Mr. Kaye an email with an attached draft
              distributor agreement incorporating the terms the parties had discussed. A copy of
              that email and draft agreement are attached to this Declaration as Exhibit 3. In the
              draft agreement, it is specifically noted that Amiad is located in Mooresville, NC.

          18. On January 26, 2016, Mr. Kaye sent an email to Mr. Cohen with a revised draft of the
              distributor agreement. A copy of that email and draft agreement are attached to this
              Declaration as Exhibit 4. Again, the draft agreement noted that Amiad is located in
              Mooresville, NC.

          19. The parties' negotiations fell apart in 2016. No new agreement was ever signed.

          20. During the same time period (2014-2016), A WT was sending ultraviolet disinfectant
              products from New York to Amiad in North Carolina for Amiad to install on its
              tilters before sending them back to AWT in New York. Evidence of this arrangement
              can be seen in the draft agreements shared between Mr. Cohen and Mr. Kaye (see the
              draft Distributor Agreement attached to Exhibit 3, , 6(f) and the draft Distributor
              Agreement attached to Exhibit 4, 16(e)).

          21. On June 28, 2016, I sent a letter to Mr. Kaye informing him that A WT was well
              below the sales goals Amiad had requested AWT to meet, and requesting A WT to
              provide Amiad with a plan on how it would meet its sales goals. A copy of that letter
              is attached to this Declaration as Exhibit 5.

          22. On August l, 2016, Mr. Kaye (a/k/a Matthias Kriesberg), responded with the letter
              attached to this Declaration as Exhibit 6, in which he states that "Sharon and [he] met
              on various occasions to discuss a more detailed contractual arrangement'', but
              ultimately were unable to reach an agreement; A WT was therefore taking the position
              that the 2005 Agreement controlled and that the annual sales quota was a mere
              $55,000 USO.

          23. On March 14, 2017, Eric Peterson (then president of Amiad) sent the letter attached
              to this Declaration as Exhibit 7, to Mr. Kaye, informing him that due to A WT's


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             failure to meet Amiad's sales goals, and lack of compliance with Amaid's payment
             terms, Amiad was terminating their 2005 Agreement, but would continue to sell its
             products to A WT on a non-exclusive basis.

          24. On March 29, 2017, Mr. Kaye sent Mr. Peterson the letter attached to this Declaration
              as Exhibit 8, in which he purports to reject Amaid's termination of the 2005
              Agreement.

          25. On or about November 27-28, 2017, Michael Poth (then president of Amiad) met
              with Mr. Kaye in New York to discuss the parties ' future business prospects.
              Following that meeting, the two shared the email exchange attached to this Brief as
              Exhibit 9, in which Mr. Poth stated that A WT's sales goal for 2018 would be
              $700,000 USO.

          26. From July 2017 to March 2018, Amiad sold A WT the products listed on the purchase
              orders (sent by AWT to Amiad) and the invoices (sent by Amiad to AWT) attached to
              this Declaration as Exhibit 10 (these are the same as attached to the Complaint as
              Exhibit 2), which purchase orders and invoices are representative of the purchase
              orders and invoices customarily used in its business between Amiad and AWT.
              Amiad' s invoices specifically list its location as 120-J Talbert Road, Mooresville, NC
              28117. While A WT's purchase orders give an address for Amiad in Chicago, as
              explained above, that was simply the address where Amiad's bank received payments
              sent to Amiad. Amiad has no presence in Chicago, and A WT routinely sent its
              purchase orders to Amiad in North Carolina via email. The invoices were sent to
              AWT from Amiad in North Carolina. The invoices contemplated that the products
              would be sent from North Carolina.

          27. AWT failed to make timely payment on the July 2017 to March 2018 invoices,
              prompting myself and Sandi Thompson (Amiad's Accounts Receivable Specialist) to
              send a number of emails to Mr. Kaye informing him of the outstanding balance and
              demanding payment. Those emails, which were sent from North Carolina, and Mr.
              Kaye's March 15, 2018 email stating that AWT was "coming out of a rough few
              months" and would start making payments, are attached to this Brief as Exhibit 11.

          28. Due to AWT's failure to pay Amaid's invoices, Mr. Poth sent the letter attached to
              this Brief as Exhibit 12, to Mr. Kaye on April I 3, 2018, again informing him that
              Amiad was terminating the 2005 Agreement.

          29. On May I, 2018, Kristin Rosenblum of the New York law firm Buhler Duggal &
              Henry sent the letter attached to this Brief as Exhibit 13, stating that the 2005
              Agreement was not terminable by Amiad.

          30. On May 18, 2018, Scott Wyatt of the High Point law firm Wyatt Early Harris
              Wheeler LLP sent the letter attached to this Declaration as Exhibit 14, noting the
              parties' disagreement over the terminability of the 2005 Agreement, and therefore




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  Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 5 of 96
             stating that the pending suit had been filed to declare the Agreement terminated and
             to collect on the past-due invoices.

          I declare under penalty of perjury that the foregoing is true and correct.

faecutedon ~                           . 2018.




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             Amiad U.S.A., Inc.
                    v.
         Advanced Water Technologies
               No. 18-cv-520

          Declaration of Matthew Miles



                      Exhibit 1




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{
\




             amiad® FILTRATION SYSTEMS
           March 31, 2005

           Advanced Water Technologies Inc.
           (OBA Better Waters)
           Mr. Matthias Krlesberg
           220 West 93 Street, # 13A
           New York, NY 10025
            USA
            2123660990
            800 720 7976 Of 212 875 6763

            Ra: Agreement between Amiad Filtration Systems and Advanced Water Technologies Inc.

            1) Amiad assigns distribution of its SAF and EBS series filtration products exctuslvely to AWTfor
            wholesale and retail sales within the tenitory end markets defined below:

            Territory~  New York City, 5 boroughs; Nassau & Suffolk counties. The tenitory is defined by
            location of the installation, or offices of the customer (i.e. a New York City customer may
            purchase a filtration product fer installation at a location outside of Naw York City).

    (..     Market: Domestic water supplies and pqtable water applications in buildings. HVAC applications
            are excluded from exclusivity.

            2) Renewal of this agreement will be automatic on an annual basis subject to the following:

            Quota: AWf must purchase an agreed $ volume from Amiad on an annual basis; If AWT does
            not do so, Amiad may eleci to continue or discontinue the exclusive nature of the distribution
            agreement. The annual Increase in sales I quota should be a reasonable number end wiH be
            jointly agreed between Amiad and AWT. If AWT meets the quota, it has an automatic right of
             renewal, subject to continued creditworthiness, continuing and responsible efforts to sell Amiad
            filtration, and responsible maintenance of equipment It has sold. The sales quota I target for
             NET purchases of Amlad producU! is US$ 55,000 In FY 2005 (i.e. January 1 - December 31 1
             2005).

             AWT Is also permltled to sell Amlad filtration to customers outside of New York City, on a project-
             by·project basis. Prior to engaging in each project, AWT must obtain pennission from Amlad.

             It is the premise of this agreement that Amiad and AWT will cooperate on efforts to sell Amlad
             filtration.

             Amiad Filtration Systems                          Advancad Water Technologies Inc.




     (
             Eric Rothberg
             V.P, Sales & Marketing
                                                              :1:,M~~'
                                                               President




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             Amiad U.S.A., Inc.
                    v.
         Advanced Water Technologies
               No. 18-cv-520

          Declaration of Matthew Miles



                      Exhibit 2




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From: Sharon Cohen
Sent: Wednesday, October 14, 2015 9:42 AM
To: Sharon Cohen ; Matt Kaye
Cc: Matthew Miles
Subject: FW: Draft, Internal: Amiad/AW- Points Discussed
Importance: High




Sharon Cohen
President




Amiad USA, 120 J Talbert Rd., Mooresville NC 28117

Direct: 704-235-6456
Fax: 704-662-3155
Mobile: 704-620-9945
www.amiadusa.com
www.pepfilters.com




From: Matt Kaye [mailto:mxk@betterwaters.com]
Sent: Monday, October 12, 2015 1:54 PM
To: Sharon Cohen <sharon.cohen@amiad.com>
Subject: Re: Draft, Internal: Amiad/AW- Points Discussed
Importance: High

Hi Sharon,



                                                           1




             Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 10 of 96
In advance of seeing you tomorrow I thought I might refresh where we left off in the agreement discussion - my
comments below inserted.

Looking forward to our meeting,

Thanks.

       On Jun 24, 2015, at 10:04 AM, Matt Kaye <mxk@betterwaters.com> wrote:

       Sharon,

       Please see below my initial comments on your discussion points. I think overall we are in a very
       good place now.

       Separate from the subject below, I think we need to have a fairly urgent discussion re
       competition and the AMF2 option. Please let me know your availability for a conversation
       specific to this topic - you may want to include Eyal on this, as he understands the NYC market
       as well as anyone.

       Hopefully we can speak soon.

       Thanks,

       Matt




                 Begin forwarded message:

                 From: Sharon Cohen <sharon.cohen@amiad.com>
                 To: Matt Kaye <mxk@betterwaters.com>
                 Cc: Matthew Miles <Matt.miles@amiad.com>
                 Subject: FW: Draft, Internal: Amiad/AW- Points Discussed
                 Date: June 16, 2015 at 10:59:49 AM EDT

                 Dear Matt,

                 As briefly discussed earlier this morning I apologize for the delayed summary. We had a
                 very good discussion in NY on 5/8, and we would like to finalize those understanding
                 into an agreement, so we can have clear guiding points for future business.
                 The main outcome of our discussion, in my view, was the substantial business
                 opportunity we are facing and the need to join forces efficiently to leverage our
                 competitive edge in that segment.

                 Understandings and points of discussion:

                     1. Relationship:
                     a. Advanced Water is a buy-resell agent of Amiad, and as such is the end customer
                         of Amiad.

          Agreed.
                                                            2



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           b. Amiad will support any further customer's/users of systems sold by AW at AW
               specific request and according to warranty policies. All request for any
               provisions/warranties will come through AW to Amiad in reference to original
               sale.
In principle, correct. But it bears further discussion so we can agree on the details. We contract
with Eric Jenkins to perform maintenance services for our customers, and my view is that it
makes sense to contract with him further for the actual warranty service, since he has the broad
expertise, often the specific knowledge of the unit in question (based on historic familiarity with
a particular system in situ), and he is local. We can get into details and iron this out.

On the warranty-Amiad will provide phone technical support within 2 hours from call, and onsite
technician within 3 days.



           c. PO dates provided to Amiad by AW are to be confirmed and agreed upon by both
                parties, and are committing to both sides. Any PO will include {{customer
                requested date" (PO date) by AW, that will be committing.
Agreed.


           d. Amiad is not dependent on payments made to AW by its customers. The
               commitment is between AW and Amiad only.
Agreed.


           e. System will be invoiced at 100% value upon completion of assembly test (ready to
               ship) or PO date - the later. 80% of the value will be due payment within 30
               days of PO date, and remaining 20% will be due payment after 90 days of PO
               date or shipping - the sooner.
Almost. I think "Ready to ship" is ambiguous. On our side, we can't know what that date is. I
would suggest the actual ship date +5 days to allow for actual receipt is a fair balance, if the
terms are as strict as proposed.

Agreed with original e.

                                                                                      "
            f. After payment date is due, an interest of 1% per month will apply to the open
                 balance and unpaid. All invoices to AW by Amiad include a standard 60 days of
                 free storage to AW (starting from PO date). After those 60 days, a fee of $75
                 week per system will apply and invoiced on a weekly basis.
In principle, yes, but I think the terms are a little severe. It depends somewhat on whether the
lead time of six weeks (below) is realistic - the shorter the lead time, the more accurate we can be
at anticipating demand. I can accept the interest, but $75/ week will really add up if a customer
turns out to be delayed, based on delay of a construction project, not an uncommon event. I also
suggest different rates for skids, which take up a lot of room, and non-skid filter bodies, which
do not. Let's see if we can agree on a reduced and variable set of numbers.

Agreed with original f. Changed fee to $75 per week.

                                                   3



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           i. In case Amiad is late on delivery (system is is not ready at PO date), Amiad will
                 credit AW with weekly storage fee.



Agreed.


           j. Amiad's lead time for standard skids (SAF) is 6 weeks from PO to delivery (to be
               tonfirrnedri e)(aCt timing,but this is ~~rintention). Standard Skids will be
                defined and agreed upon by AW and Amiad. Non-standard skids will be
                provided with a dedicated lead time based on its elements.
All agreed. As referenced above, if you can really commit to 6 weeks, that makes the preceding
conditions more realistic.
Agree

            2. Open Balance:
            a. $200K was the open balance at the time of our meeting.
            b. $100K was to be paid the following week (completed)
            c. Remaining balance will be paid by 6/8 (was not completed. There is an open
                 balance of $4SK as of 6/15). Oldest is 60 days past due.
            d. Interest will apply after 6/8 timeframe.
Now moot.

Open balance of $100K will be closed by end of October.




            3. UV and Ozone Skids
            a. Amiad will be responsible only for the mechanical performance of the filters and
                will be released from any further liability or responsibility related to system
                performance. AW will assume any such liability/responsibility.
Agreed.

            b. Any service related to those skids (design, assembly, purchasing etc.) will be
                charged separately.
Agreement depends on the actual charges. In principle, yes, but let's use a UV skid and ozone
skid to quantify such charges. Once we break these out and accept, this can be agreed.

Amiad will provide a quote before service.


            c. Amiad to provide a release form.
OK.


            4. Exclusivity:
            a. An exclusivity clause will be finalized and included in the agreement, defining
                scope of exclusivity (e.g._PoE in Residential and commercial buildings (potable
                water) and water reclamation in Greater NYC area - see map attached, time
                limit (period), exit/termination options, etc.
                                                     4



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I will wait until you draft, before detailed comments. In order to avoid ambiguity and confusion,
I suggest that within the defined territory, exclusivity is simple - e.g. POE in residential bldgs
and water reclamation is too narrowly defined, and permits competitors to come up with work
arounds. The essential point is that my company has created a robust demand for Amiad
technologies in the region, and we must stand to reap the benefits of the years of investment and
track record we have established. Case in point is the Aquanomix attempt - there can be no
exceptions for OEM customers to bundle Amiad in order to compete for our projects.

There are different ways we can address this, so I'll suggest what I'd like to see in the simplest
terms:

All Amiad within the agreed territory (definition tbd). There may be some exceptions that can be
specifically noted, re grandfathering in distribution representing PEP I Arkal in HVAC
applications - I'm aware of this, and it's worked well since Amiad acquired PEP.

Keep as original with POE for residential. Matt too provide a map.

Our ability to sell nationwide when we land a specification and of course specifically advise
Amiad of the project. We can discuss how to permit these opportunities.

        The sequenced technologies skids - +UV, +ozone: When they use the specific
        manufacturers we have brought to the table, these are exclusive for our
        distribution, under the BETTER WATERS brand. As we have discussed a little
        already, we would be pleased to make them available to your existing distribution
        channels - and open new ones - at wholesale pricing in order to incentives
        distribution to build markets for these products.

        No exclusivity there.

            Please let me know if I missed anything, and feel free to provide your
            inputs/comments. Once we iron all items we will move forward and start working
            on the contract. Looking forward to keeping our conversation regarding Exxon
            Mobile project as well.


Re Exxon Mobil, I believe I provided you the files you requested since our last meeting. In
summary, the email thread shows that the decision to specify the Amiad models - and more units
than were originally expected - was made during a meeting Eyal and I held at the NYC offices of
Cosentini, and subsequently directed (drawings thereafter issued) out of that office. My view is
that Texas should never have been authorized to sell this job in the first place.

Re compensation due, I absolutely understand that you can't walk it back, and there is perhaps
rather little margin on the factory side to carve out sufficient dollars to compensate. If it helps, I
would be totally OK with whatever sum we agree on applied as credits over time on new orders.
It could be spaced over many orders, over say a year, to minimize the impact on Amiad.

I look forward to resolving all these issues, and working together more closely going forward!

Thank you,

Matt

                                                   5



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             Best regards,

             Sharon



          Sharon Cohen
          President




          Amiad USA, 120 J Talbert Rd., Mooresville NC 28117

          Direct: 704-235-6456
          Fax: 704-662-3155
          Mobile: 704-620-9945
          www.amiadusa.com
          www.pepfilters.com




Matt Kaye, President
BETTER WATERS
www.betterwaters.com

cell 917 696 2457
main 212 366 6700
mxk@betterwaters.com




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              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 3




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 16 of 96
From:                            Sharon Cohen <sharon.cohen@amiad.com>
Sent:                            Monday, December 14, 2015 3:57 PM
To:                              Matt Kaye
Cc:                              Matthew Miles; Eyal Yavin
Subject:                         Better Waters Customer Agreement 12.14
Attachments:                     Better Waters Customer Agreement 12.14.docx



Matt,



Following our conversations and correspondences, attached please find for your review the distributor agreement as
discussed.

Please feel free to contact me or Matt Miles at any point with questions or comments.

Best regards,

Sharon

Sharon Cohen
President




Amiad USA, 120 J Talbert Rd., Mooresville NC 28117

Direct: 704-235-6456
Fax: 704-662-3155
Mobile: 704-620-9945
www.amiadusa.com
www.pepfilters.com




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                                                  Amiad USA Ltd.)               T~I: 704.662.3133   E-'rn~1i:1~to@arnt~ciG$~.~o·rl1.c
                                                  120Sta1bert ~~~hi·.·                              .w$~~ ~.amiad~sk'.tom ••
                                             ·•   Mo6r~s\/iHe,NC ;s11i:····•·


October 11, 2015

Mr. Matt Kaye
BEITER WATERS
P.O. Box 8545
JAF Station
New York, NY 10116-8545



Sales Agreement

THIS AGREEMENT made effective on November 1, 2015 by and between Amiad USA, Inc., incorporated under laws of the
State of California having its principal office at 120-J Talbert Rd., Mooresville, North Carolina 28117 ("Amiad"), and Better
Waters aka (Advance Water Technologies, Inc.), a New York corporation ("Distributor"), as follows:

1) Appointment and Acceptance: Amiad appoints the Distributor as its buy/resell Distributor to promote the sale
of and sell its products as defined in paragraph 2 below, in the territory as defined in paragraph 3 below; and
Distributor accepts the appointment and agrees to sell and promote the sale of Amiad's products pursuant to this
agreement. It is understood that "Territory" may consist of a geography assignment, a market segment
assignment, an individual project based assignment, or any combination thereof.

2) Products: The brands of Amiad to be promoted for sale and sold by the Distributor are:

a) Brands that are in current production and offered by Amiad, Arkal, Pep and Filtomat, at the time of sale,
   unless otherwise noted as an exception to this agreement. Generally, current production items are listed and
   shown in Amiad's price lists, literature and brochures. However, Amiad reserves the right to discontinue or
   modify any product, as well as the price of any product, without prior notice. Distributor shall deliver to Amiad,
   a list of all products it currently sells other than on behalf of Amiad. This list shall be updated by Distributor
   throughout the terms of this agreement within ten days of any change. Distributor agrees that during the term
   of this agreement as well as any renewals hereof, it shall not, either directly or indirectly, promote the sale of
   any competitive products without the express written consent of Amiad. The term "competitive products"
   means back washable screen filters or alternative equipment that would be in direct competition of Amiad
   products used in filtration systems in industrial applications, to filter out particulates and other substances in
   the 2 - 5000 micron range.

     Distributor is excluded from selling the PEP, Filtomat, and Amiad & Arkal branded products into the
     Industrial, Commercial, Irrigation and Oil & Gas Market unless agreed to with Amiad.

     Desalination market (sea or brackish water prior to membrane) is non-exclusive to all channel
     partners, however Amiad will protect projects registered within this market segment.

b) Distributor has the right to sell PEP, Filtomat, and Amiad & Arkal branded products in all other market
   segments listed in section 3.

 3) Territory: The State of New York
     Market: PoE Residential Buildings

4) Amount of Compensation: Distributor's compensation for services performed hereunder shall be based on
the "Net Invoice Price" as defined in bullet below.




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                                                                                                       0
                                                                       :r~1:104.662.3133 .




Distributor shall receive buy/resell discount in accordance with the following schedule I range:

        •   0.45 multiplier from list price on Amiad and Filtomat (excluding Filtomat AMF filter) brands,
            and a 0.70 multiplier on PEP (exception - 0.80 multiplier for BMF filter) and Arkal brands.

Buy/Resell: No commissions will be paid when acting as a buy/resell distributor.

5) Acceptance of Orders: All orders are subject to acceptance or rejection by an authorized officer of Amiad at
its home office and to the approval of Amiad's credit department. Amiad shall be responsible for all credit risks
and collections.

If Amiad notifies customer of its acceptance or rejection of an order, a copy of any written notification shall be
transmitted to the Distributor.

6) Terms of Sale:

a) All sales shall be at prices and upon terms established by Amiad, and it shall have the right, in its discretion,
   time to time, to establish, change, alter or amend prices and other terms and conditions of sale. Distributor
   shall not accept orders in Amiad's name or make price quotations or delivery promises without Amiad's prior
   written approval.

b) All orders are conducted only between Amiad and Distributor

c)   Payment Terms are 45 days from Invoice unless otherwise agreed upon by both parties for specific orders. If
     payment is not received by the due date, invoices are considered past due. Past due payments will be subject
     to a service charge of one and one-half-percent (1 %%) per month or the maximum amount allowed by law,
     whichever is less.

     Most forms of payment are accepted by Amiad.

     If Distributor is delinquent in paying any amount owed to Amiad by more than ten {15) days, then without
     limiting any other rights and remedies available to Amiad under the law, in equity, or under the contract,
     Amiad may (i) suspend production, shipment and/or deliveries of any or all products purchased by Distributor,
     or (ii) by notice to Distributor, treat such delinquency as a repudiation by Distributor of the portion of the
     contract not then fully performed, whereupon Amiad may cancel all further deliveries and any amounts unpaid
     hereunder shall immediately become due and payable. If Amiad retains a collection agency and/or attorney to
     collect overdue amounts, all collection costs, including attorney's fees, shall be payable by Distributor.
     Distributor hereby represents to Amiad that Distributor is now solvent and agrees that each acceptance of
     delivery of the Products. sold hereunder shall constitute reaffirmation of this representation at such time.

d) All sales are final and right to bill occurs when either the sooner of takes place:
       i.   Shipment has occurred; Amiad's standard incoterms are ExWorks Amiad USA
      ii.   Later of, upon completion of assembly test (ready to ship) or five business days subsequent to the
            original committed PO date/Confirmed ship date provided on order confirmation.

     It is the Distributor's responsibility to seek compensation from the carrier for damaged or missing freight.
     Amiad shall not be responsible for any claims or damages resulting from a delay in delivery or failure to
     perform which results from: governmental regulations, strike, lockouts, accident, fire, delays in manufacturing,
     transportation, acts of God, or any other causes beyond the control Amiad. In case of partial or complete
     destruction of goods, Amiad is excused unless destruction is due to Amiad's own negligence.




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       Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 19 of 96
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e) All sales are subject to Amiad's standard return and warranty policy. All request for return or warranty must be
   brought forth by the Distributor, and all correspondences related to such claims we bill handled through the
   Distributor.

      In the event a warranty claim occurs, Amiad will provide support of this event immediately. The standard of
      support to this agreement will be; (1) phone technical support within two hours of the event notification;
      (2) Onsite Technician to site within three days of event notification.

f)    Any components sent by Distributor, under Distributors own expense, to be incorporated with Amiad products,
      will not be in connection with the terms and conditions of Amiad products, i.e. UV and Ozone components.
      Only the items purchased by Amiad in connection with filter sales will be valid under the standard terms and
      conditions of Amiad products. If components sent by Distributor compromises the functionality of our filter and
      components, then the Distributor bears the risks and liability of repairing the filter system or loss or sale
      unless such occurrence is deemed in connection to Amiad's own negligence. Any negligence due to Amiad
      will coincide to Amiad's standard return and warranty policy.

g) Amiad will charge $75/week/skidded unit up to 6 weeks commencing 60 days of free storage after PO
   date/Confirmed ship date. Amiad will charge $50/week/non-skidded unit up to 6 weeks commencing 60 days
   of free storage after PO date/Confirmed ship date. After 6 weeks of paid storage has elapsed for either
   skidded or non-skidded units, Distributor will be responsible for removing goods from Amiad's facility.

h) Amiad will reimburse Distributor $75/week/skidded unit and $50/week/non-skidded for each order that is
   delayed greater than two (2) weeks from delivery date provided at the time of order due to Amiad's own fault.
   Amiad will not reimburse or be held responsible for any delays due to interference or change orders arisen by
   Distributor restricting Amiad's scope of supply.

7) Distributors Relationship and Conduct of Business:

a)     Distributor, at its own expense, shall maintain a sales office in the territory and devote such time as may be
      reasonably necessary to sell and promote Amiad's products within the territory.

b) Distributor will conduct all of its business in its own name and in such manner it may see fit any all expenses
   whatever of its office and activities, and be responsible for the acts and expenses of its employees.

c) Nothing in this Agreement shall be construed to constitute Distributor as the partner, employee or agent of
   Amiad nor shall either party have any authority to bind the other in any respect, it being intended that each
   shall remain an independent contractor responsible only for its own actions.

d) Distributor shall not, without Amiad's prior written approval, alter, enlarge, or limit orders; make
   representations or guarantees concerning Amiad's products; or accept the return of, or make any allowance
   for such products.

e) Distributor shall furnish to Amiad's Credit Department any information that it may have from time to time
   relative to the credit standing of any of its customers.

 f)   Any services subcontracted and of its own incurred by the Distributor will be under the sole expense of the
      Distributor and have no claim to Amiad.

 g) Distributor shall abide by Amiad's policies and communicate same to Amiad's customers.




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         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 20 of 96
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h) Amiad shall be solely responsible for the design, development, supply, production and performance of its
   products and the protection of its patents, trademarks and trade names. Amiad agrees to indemnify and hold
   Distributor harmless from and against and to pay all losses, costs, damages or expenses whatsoever,
   including reasonable attorney's fees, which Distributor may sustain or incur on account of infringement or
   alleged infringement of patents, trademarks, or trade names, or breach of warranty in any way resulting from
   the sale of Amiad's products.

i)   Amiad shall furnish Distributor, at no expense to Distributor, samples, catalogs, literature and any other
     material necessary for the proper promotion and sale of its products in the territory. Any literature which is not
     used or samples or other equipment belonging to Amiad shall be returned to Amiad at its request.

j)   If for any reason Distributor, at Amiad's request, takes possession of Amiad's products, the risk of loss or
     damage to or destruction of such products shall be borne by Amiad, and Amiad shall indemnify and hold
     Distributor harmless against any claims, debts, liabilities or causes of action resulting from any such loss,
     damage, or destruction.

k) Amiad will keep Distributor fully informed about sales and promotional policies and programs affecting the
   Distributor's territory.

I)   Distributor is responsible for participating in Amiad sales meetings at least every other year.

8) Distributor's Sales Responsibility:

a) Distributor will promptly and professionally handle all sales inquiries.

b) Distributor will provide feedback on the progress of key accounts and all "automatic filter" prospects in the
territory in a timely manner.

c) Project Log Reports are to be considered a function of the Distributor's position and will be discussed further
with the Regional Sales Manager concerning their completion and accuracy. These Reports are of significant
importance in tracking national membrane accounts (e.g. Pall Corporation) and their sales as it pertains to
Project-by-Project commissions.


9) Terms of Agreement and Termination: This Agreement shall be effective on XXXXi and shall continue in
force for One Year, and shall be automatically renewed for additional One Year periods thereafter unless
terminated by written notice from either party to the other not less than thirty (30) days prior to the end of the initial
or any subsequent one-year term. This Agreement may also be terminated:

a) By Amiad immediately upon written notice to Distributor by registered or certified mail if there is a change of
fifty (50%) percent or more of the present ownership or control of the Distributor's business without Amiad's
written consent.

b) By Amiad if Distributor, without Amiad's written consent, offers, promotes or sells any product which is
competitive with any product Distributor is to offer, promote or sell for Amiad in accordance with the terms of this
Agreement, and written notice of this breach of the Agreement is mailed to or served upon Distributor, the breach
is not cured within ten (10) days after receipt of such notice by Distributor, and written notice of termination is
mailed to or served upon Distributor.

 c) By Distributor immediately upon written notice to Amiad by Registered or Certified mail in the event Amiad sells
 substantially all of the assets of its business or there is a change of 50% or more of its present ownership, or it is




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merged with another firm, corporation or business and Amiad is not the surviving company.

d) By either party:

        i. in the event of the other party's unreasonable and repeated failure to perform the terms and conditions
        of this Agreement, written notice of the failure is mailed to or served upon that party, the failure is not
        cured within thirty (30) days after receipt of such notice, and written notice of termination is mailed to or
        served on that party, or

        ii. upon immediate written notice to the other party in the event that party has filed or has filed against it a
        petition in bankruptcy (which is not dismissed within thirty (30) days after it is filed) or that party makes an
        assignment for the benefit of creditors; or

e) By mutual written agreement:

10) Rights Upon Termination:

a) Upon termination of this Agreement for any reason, subject to Distributor delivering to Amiad at Distributor's
expense, all unused and I or undistributed samples, catalogs, literature and any other material necessary for the
proper promotion and sale of its products in the territory, as well as all applicable customer information, Distributor
shall be entitled to:

         i. Commissions on all orders calling for shipment into Distributor's territory which are dated or
         communicated (specifications) to Amiad prior to the effective date of termination, regardless of when such
         orders are shipped; or releases and shipments on such orders take place; and

         ii. Its share of split commissions on orders including those referred to in Paragraph (a), (i) of this provision

b) Commissions referred to in this Provision #11 shall be paid on or before the fifteenth (15th) day of the month
following the month in which Amiad receives payment for the orders but in no event earlier than ninety (90) days
following termination to permit Amiad to account for offsetting customer credit and return allowances.

11) Confidentiality: Distributor shall not, during the term of or following the terms of this agreement divulge or
disclose;

a) any materials deemed confidential or proprietary to Amiad that Distributor knows or should know to be so
deemed by Amiad;

b) trade secrets of Amiad that Distributor knows or should know to be so deemed by Amiad;

c) marketing or advertising plans of Amiad, except to the extent necessary to formulate and implement such
plans; or

d) other confidential information, including but not limited to Amiad's pricing strategies and technical information.

12) Distributor agrees to indemnify Amiad and hold it harmless from and against any and all claims, damages,
costs, and expenses, including reasonable attorney fees, arising from Distributor's conduct under this agreement,
including but not limited to, any representation or warranty regarding Amiad's products made by or on behalf of
Distributor or Amiad other than as specifically authorized by Amiad in writing. Distributor will not be responsible
for any breach of warranty by Amiad.




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       Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 22 of 96
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                                          Mooresville, NG 28117




13) Should Distributor become aware of any customer dissatisfaction with any of Amiad's products, Distributor
shall so notify Amiad in writing as soon as practicable.

14) Upon termination, neither party shall disparage the other to customers or any other person or entity, privately
or publicly. In the event of a breach of this provision following termination of this agreement, either party shall
have the right to seek injunctive relief and I or damages from the other.

15) General: This Agreement contains the entire understanding of the parties, shall supersede any other oral or
written agreements, and shall be binding upon and inure to the benefit of the parties' successors and assigns. It
may not be modified in any way without the written consent of both parties. Distributor shall not have the right to
assign this Agreement in whole or in part without Amiad's written consent.


16) Construction of Agreement: This Agreement shall be construed according to the laws of the State of North
Carolina.

17) Disputes and Arbitration: The parties agree that any disputes or questions arising hereunder, including the
construction or application of this Agreement, shall be settled by arbitration in accordance with the rules of the
American Arbitration Association then in force, and that the arbitration hearings shall be held in Mooresville, North
Carolina, USA. If the parties cannot agree upon an arbitrator within ten (10) days after demand by either of them,
either or both parties may request the American Arbitration Association for a list of five (5) potential arbitrators.
Amiad shall strike the names of two (2) on this list, the Distributor shall then strike two (2) names, and the
remaining name shall be the arbitrator. The decision of the arbitrator shall be final and binding upon the parties
both as to law and to fact, and shall not be appealable to any court in any jurisdiction. The parties shall share the
expenses of the arbitrator equally, unless the arbitrator determines that the expenses shall be otherwise
assessed.

18) Notices: All notices, demands or other communications by either party to the other shall be in writing and
shall be effective upon personal delivery or if sent by mail seventy-two (72) hours after deposited in the United
States mail, first class postage, prepaid, Registered or Certified, and all such notices given by mail shall be sent
and addressed as follows until such time as another address is given by notice pursuant to this provision 19:

IN WITNESS WHEREOF, the parties hereto have executed this Agreement on the day and year first above
written in multiple counterparts, each of which shall be considered an original.


Better Waters:

Name: Matt Kaye



Title: President

Date: _ _ _ __



Amiad USA, Inc.:

Name: Sharon Cohen                                                 Name: Matthew Miles




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       Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 23 of 96
                               Amiad USA Ltd.                Tel:J04.66i.3133
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Sign:~-------------­                            Sign:~-------------­
Title: President                                Title: Controller

Date: _____                                     Date: _____




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       Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 24 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 4




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From:                           Sharon Cohen <sharon.cohen@amiad.com>
Sent:                           Friday, February 19, 2016 11 :57 AM
To:                             Matthew Miles
Subject:                        FW: Better Waters Customer Agreement 12.14 - 1-26-16 draft attached
Attachments:                    image001.png; ATT00001.htm; image003.png; ATT00002.htm; BW logoJpeg;
                                ATT00003.htm; Amiad -AWT Distribution Agreement Draft 1-26-16.docx; ATT00004.htm




Sharon Cohen
President




Amiad USA, 120 J Talbert Rd., Mooresville NC 28117

Direct: 704-235-6456
Fax: 704-662-3155
Mobile: 704-620-9945
www.amiadusa.com
www.pepfilters.com


From: Matt Kaye [mailto:mxk@betterwaters.com]
Sent: Tuesday, January 26, 2016 5:01 PM
To: Sharon Cohen
Subject: Re: Better Waters Customer Agreement 12.14 - 1-26-16 draft attached

Hi Sharon,

Well it took a while, but we now have an agreement draft we think reflects the total of our discussions and
understandings, and represents, as best we can, what each party wants to see.

You will note within a few places yellow highlighted indicating information that will need to be inserted.

Also please note our commitment in exchange for exclusivity to purchase not less than $800,000 Amiad
Systems in the initial two year term (2016 - 2017). We prefer a two-year commitment term because that
matches more closely the life cycle of our projects, and allows for variance between any two years which is
beyond our control. We feel that a two year cycle is a more reliable indicator of the market.

We are seeing more positives than negatives in recent months, as new projects enter the pipeline and PO's come
in. I look forward to reviewing this draft with you as your schedule permits.

Thank you,

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Matt"



        On Dec 23, 2015, at 11 :33 AM, Sharon Cohen <sharon.cohen@amiad.com> wrote:

        Matt,

        Please see my comments below.

        Happy Holidays!

        Sharon

        Sharon Cohen
        President




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   January 1, 2016                                                                                                   Draft 1/26/2016

   Advanced Water Technologies Inc. dbaBETTER WATERS
   508 West 26 Street, Suite 9A
   New York, NY 10001


                                        Exclusive Buy/Sell Distribution Agreement

   THIS AGREEMENT (the "Agreement") made effective on January 1, 2016 ("Effective Date") by and between Amiad USA,
   Inc., incorporated under the laws of the State of California having its principal office at 120-J Talbert Rd., Mooresville, North
   Carolina 28117 ("Amiad"), and Advanced Water Technologies Inc., a New York corporation a/k/a and d/b/a Better Waters
   ("Distributor"), having its principal office at 508 West 26 Street, Suite 9A, New York, NY 10001, sets forth the following
   terms agreed upon by parties hereto:

   1) Appointment and Acceptance; Exclusivity. Amiad appoints the Distributor as its buy/resell Distributor to promote the
   sale of and sell its Products as defined in paragraph 2 below, in the Territory as defined in paragraph 3 below; and Distributor
   accepts the appointment and agrees to sell and promote the sale of Amiad's Products pursuant to this Agreement. It is
   understood that "Territory" shall mean the geographic region set forth in Section 3 below. Amiad agrees that Distributor is
   Amiad's sole and exclusive reseller within the Territory. Amiad shall not contract with or otherwise do business with any
   other third party directly or indirectly for the resale of the Products within the Territory without Distributor's prior express
   written consent. Amiad shall only sell Products within the Territory through Distributor as per the terms hereunder; Amiad
   shall not sell directly any Products (as defined in Section 2 below) within the Territory without Distributor's prior written
   consent, but may sell directly other Amiad products other than "Products" as defined in Section 2 below. Any violation of the
   foregoing by Amiad shall result in a material breach by Amiad and Distirbutor may thereupon terminate this Agreement
   effective immediately and seek damages.

   2) Products & Markets. The following Amiad products and brands sets forth a description of Amiad products for purposes
   hereunder, including for exclusivity purposes hereunder, the defmition of "Products" set forth under Section 2(c) below:

        a) Brands that are in current production and offered by Amiad at the time of sale, including the following Amiad
             owned brands: Amiad, Arkal, Pep and Filtomat, etc., unless otherwise noted as an exception in this Agreement.
             Generally, current products are listed and shown in Amiad's price lists, literature and brochures. However, Amiad
             reserves the right to discontinue or modify any product, as well as the price of any product, without prior notice.

        b)    Distributor may not sell Amiad products hereunder in the Industrial, Irrigation and Oil & Gas markets unless
              agreed to by Amiad. Distributor may sell Amiad products in the Desalination market, provided however not on an
              exclusive basis (i.e., Amiad may partner with another reseller in the Territory with respect to the Desalination
              market). The foregoing markets referenced in this Section shall be defined as follows:


                      "Industrial" Market shall mean: [NEED TO DEFINE]
                      "Irrigation" Market shall mean: [NEED TO DEFINE]
                      "Oil & Gas" Market shall mean: [NEED TO DEFINE]

        c)    Distributor has the right to sell Amiad products hereunder in all other market segments (including without limitation
              the point-of-entry building, residential and commercial markets) subject to the market restrictions noted in Section
              2(b) above (such Amiad products, the "Product" or "Products").


   3) Territory. "Territory'' under this Agreement shall mean the State of New York.




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" - . ' WATER SYSTEMS




     4) Pricing. Buy Prices: Distributor shall receive the following discounts on Product prices:

              •   55% discount off the list price on Amiad and Filtomat Products (excluding Filtomat AMF filter) brands, and a
                  30% discount off on the list price on PEP Products prices (but only a 20% discount off BMF filter Products
                  prices) and 30% discount off Arkal brands Products prices.

     Attached hereto as Exhibit A is a current Product Pricing List and Discounted Prices purchased by Distributor hereunder.

     Resell Commissions: Distributor will have no obligation whatsoever to pay any commissions to Amiad for any resold
     Products.

     5) Acceptance of Orders. All orders are subject to acceptance or rejection by an authorized Amiad person.

     6) Terms of Sale.

         a) Pricing. All sales shall be at prices set forth under Exhibit A attached hereto, and Amiad shall have the right, in its
         discretion, time to time, to establish, change, alter or amend prices and other terms and conditions of sale. Distributor
         shall not accept orders in Amiad's name.

         b) Purchase Orders. All Product purchase orders by Distributor hereunder are conducted only between Amiad and
         Distributor. A form of purchase order is attached hereto as Exhibit B.

         c) Payment Terms. Payment Terms are 45 days from Invoice unless otherwise agreed upon by both parties for
         specific orders. If payment is not received by the due date, invoices are considered past due. Past due payments will be
         subject to a service charge of one percent (1 %) per month or the maximum amount allowed by law, whichever is less.
         Most forms of payment are accepted by Amiad.

         If Distributor is delinquent in paying any undisputed amount owed to Amiad by more than fifteen (15) days, then
         without limiting any other rights and remedies available to Amiad under the law, in equity, or under the contract, Amiad
         may (i) suspend production, shipment and/or deliveries of any or all Products purchased by Distributor, or (ii) by notice
         to Distributor, treat such delinquency as a repudiation by Distributor of the portion of the contract not then fully
         performed, whereupon Amiad may cancel all further deliveries and any amounts unpaid hereunder shall immediately
         become due and payable. If Amiad retains a collection agency and/or attorney to collect undisputed overdue amounts, all
         collection costs, including attorney's fees, shall be payable by Distributor. Distributor hereby represents to Amiad that
         Distributor is now solvent and agrees that each acceptance of delivery of the Products sold hereunder shall constitute
         reaffirmation of this representation at such time.

          d) Delivery Terms. All sales are final and right to bill occurs when shipment has occurred; Amiad's standard
          Incoterms are Free Carrier. Amiad shall be responsible for any claims or damages resulting from a delay in delivery or
          failure to perform but will not be responsible for non-performance which results from: governmental regulations, strike,
          lockouts, accident, fire, delays in manufacturing, transportation, acts of God, or any other causes beyond the control of
          Amiad.

          e) System Integration & Related Intellectual Property Rights. For skid-assemblies consisting of Amiad Products
          integrated with non-filtration (e.g. disinfection) water technologies manufactured by others, which Amiad assembles and
          sells to Distributor marketed and sold under the BETTER WATERS brand (e.g. BETTER WATERS seq30SD33,
          seq48SD-SP, seql5Z60), Distributor is not restricted to sales in New York only, but is entitled to sell throughout the
          United States and, subject to Amiad's written consent, outside the United States. Amiad may not offer for sale through
          any other distributor or directly, any such integrated system that combines Amiad Products with the products of any




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WATER SYSTEMS
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     manufacturer that Amiad has built or builds for Distributor to sell. Examples: Amiad + NeoTech Aqua Solutions (UV
     disinfection), Amiad + Spartan Environmental Technologies (ozone disinfection). For the avoidance of doubt, and
     notwithstanding anything to the contrary herein, Distributor may develop and sell any products of its own even if such
     products consist of a combination of any Amiad products and a third party's product which, together, result in
     Distributor's own proprietary product (any such product, "Distributor Product"). Any such Distributor Product is not
     subject to the distribution restrictions set forth herein (except that Distributor will not export without Amiad's
     permission). Amiad hereby grants Distributor a license to Amiad products (including the Amiad Products being
     purchased and distributed hereunder) to the extent necessary for any of Distributor's commercialization purposes in
     connection with Distributor Products. The parties hereto agree and acknowledge that any such Distributor Product,
     existing now or in the future, shall be Distributor's sole and exclusive intellectual property.

     f) Amiad Warranty & Returns. All sales are subject to Amiad's standard return and warranty policy, attached hereto
     as Exhibit C. All requests for return or warranty must be brought forth by the Distributor and all correspondences related
     to such claims will be handled through the Distributor. In the event a warranty claim occurs, Amiad will provide support
     of this event immediately. The standard of support to this agreement will be; (1) phone technical support within two
     hours of the event notification; (2) onsite technician to site within three days of event notification. Only Amiad Products
     will be valid under the standard warranty and return terms and conditions of Amiad Products (set forth under Exhibit C
     attached hereto). With respect to other components not Products of Amiad, then the Distributor bears the risks and
     liability of repairing the filter system or loss of sale unless such occurrence is deemed in connection to Amiad's own
     negligence. Any negligence due to Amiad will result in Amiad being subject to Amiad's standard return and warranty
     policy set forth under Exhibit C attached hereto.

     g) Storage Fees Paid By Distributor.               If Distributor has not taken possession of the Products per the shipping
     terms under the applicable purchase order, Amiad will charge $75/week/skidded unit up to 6 weeks commencing after 60
     days of free storage after confirmed ship date. Amiad will charge $50/week/non-skidded unit up to 6 weeks commencing
     after 60 days of free storage after the confirmed ship date. After 6 weeks of paid storage has elapsed for either skidded or
     non-skidded units, Distributor will be responsible for removing goods from Amiad's facility.

     h) Storage Fees Paid By Amiad.           If Amiad has not delivered the Products per the shipping terms under the
     applicable purchase order, Amiad will reimburse Distributor $75/week/skidded unit and $50/week/non-skidded for each
     order that is delayed greater than two (2) weeks from delivery date provided at the time of order due to Amiad's own
     fault. Amiad will not reimburse or be held responsible for any delays due to interference or change orders arisen by
     Distributor restricting Amiad' s scope of supply.

7) Distributor's Relationship and Conduct of Business.

a) Distributor, at its own expense, shall maintain a sales office in the Territory and devote such time as may be reasonably
   necessary to sell and promote Amiad's Products within the Territory.

b) Distributor will conduct all of its business in its own name and in such manner it may see fit. Distributor will be
   responsible for any and all expenses whatever of its office and activities, and be responsible for the acts and omissions of
   its employees.

c)   Nothing in this Agreement shall be construed to constitute Distributor as the partner, employee or agent of Amiad nor
     shall either party have any authority to bind the other in any respect, it being intended that each shall remain an
     independent contractor responsible only for its own actions.

d) Any services subcontracted and of its own incurred by the Distributor will be under the sole expense of the Distributor
   and Distributor shall be responsible for any such subcontractor.

e)   Distributor shall abide by Amiad's written policies and if attached hereto.




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        Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 30 of 96
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  f)    Amiad shall be solely responsible for the design, development, supply, production and performance of its products
        (including any Products purchased hereunder) and the protection of its patents, trademarks and trade names. Amiad
        agrees to indemnify and hold Distributor harmless from and against and to pay all losses, costs, damages or expenses
        whatsoever, including reasonable attorney's fees, which Distributor may sustain or incur on account of (i) infringement
        or alleged infringement of patents, trademarks, or trade names, or (ii) breach of warranty in any way resulting from the
        sale of Amiad's products, or (iii) due to any product liability claims whatsoever, or (iv) due to any breach of this
        Agreement by Amiad, or (v) due to any other acts or omissions by Amiad beyond the reasonable control of Distributor.


  g)    Amiad shall furnish Distributor, at no expense to Distributor, samples, catalogs, literature and any other material
        necessary for the proper promotion and sale of its products in the territory. Any literature which is not used or samples
        or other equipment belonging to Amiad shall be returned to Amiad at its request.

  h)    If for any reason Distributor, at Amiad's request, takes possession of Amiad's products, the risk of loss or damage to or
        destruction of such products shall be borne by Amiad, and Amiad shall indemnify and hold Distributor harmless against
        any claims, debts, liabilities or causes of action resulting from any such loss, damage, or destruction.

  i)    Amiad will keep Distributor fully informed about sales and promotional policies and programs affecting the Distributor's
        Territory.

  j)    Distributor is responsible for participating in Amiad sales meetings at least every other year if invited by Amiad in
        writing.

  8) Distributor's Sales Responsibilities.

  Distributor will promptly and professionally handle all sales inquiries.


  9) Purchase Commitment.

           a) In consideration of the sole and exclusive distribution right granted by Amiad to Distributor under Section 3 above,
           Distributor undertakes to purchase Amiad products for a minimum purchase volume over the course of a two-year
           period equal to $800,000. Following such two-year period and for the remaining term of the Agreement, the parties
           will mutually agree on a subsequent purchase commitment amount, provided that such 2 year purchase commitment
           amount shall not exceed 15% more than the preceding 2 year purchase commitment amount unless both parties hereto
           mutually agree in writing.

           b) The annual purchase commitments set forth in this Section 9 shall be on a cumulative basis, such that purchase
           amounts in excess of the above annual minimum commitments in any given term may be applied to any subsequent
           term for the purposes of fulfilling bi-annual purchase minimums in advance. The amounts set forth above shall not be
           modified without the prior written agreement of both parties hereto.

           c) Should Distributor fail to meet the purchase commitment stated in Section 9(a) above, Amiad shall be entitled, at its
           sole discretion, to either (i) withdraw the sole and exclusive distribution right granted to Distributor or (ii) terminate
           this Agreement according to the terms in Section IO below. If Distributor does not meet its 2 year purchase
           commitment set forth above and Amiad does not elect (in writing) one of the two options set forth above in this
           Section 9 by no later than thirty (30) days following the Renewal Period in question, Amiad shall be deemed to have
           waived these rights and the Agreement will continue in full force and effect as though that given term's purchase
           commitment had been met by Distributor.




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     10) Term of Agreement; Termination. This Agreement shall commence on the Effective Date and shall continue in force
     for two (2) years, and shall be automatically renewed for additional two (2) year periods thereafter (each, a "Renewal Period")
     unless terminated by Distributor by giving written notice to Amiad not less than thirty (30) days prior to the end of the initial
     two (2) year period or any Renewal Period (collectively, the initial 2 year period and any Renewal Period(s), the "Term").
     Amiad may terminate this Agreement solely if (i) Distributor has not fulfilled its purchase requirements set forth under Section
     9 above only if Amiad (i) gives written notice not to elect for renewal by providing written notice of termination at least thirty
     (30) days before the beginning of the applicable two-year Renewal Period.

     This Agreement may also be terminated:

         a) By Amiad immediately upon written notice to Distributor by registered or certified mail if there is a change of
            greater than fifty (50%) percent of the present ownership or control of the Distributor's business without Amiad's
            written consent.
         b) By Distributor immediately upon written notice to Amiad by Registered or Certified mail in the event Amiad sells
            substantially all of the assets of its business or there is a change of 50% or more of its present ownership, or it is
            merged with another firm, corporation or business and Amiad is not the surviving company.
         c) By either party for material breach:
            i. in the event of the other party's unreasonable and repeated failure to perform the terms and conditions of this
            Agreement if resulting in a material breach and if thereupon written notice of the failure is mailed to or served upon
            that party, the failure is not cured within thirty (30) days after receipt of such notice, and written notice of
            termination is mailed to or served on that party, or
            ii. upon immediate written notice to the other party in the event that party has filed or has filed against it a petition in
            bankruptcy (which is not dismissed within thirty (30) days after it is filed) or that party makes an assignment for the
            benefit of creditors; or
         d) By mutual written agreement of both parties hereto.

     11) Rights Upon Termination.

     Upon termination of this Agreement for any reason, subject to Distributor delivering to Amiad at Distributor's expense, all
     unused and I or undistributed samples, catalogs, literature and any other material necessary for the proper promotion and sale
     of its Products in the Territory, as well as all applicable customer information, Distributor shall be entitled to the sale in full
     of all orders calling for shipment into Distributor's Territory which are dated or communicated (specifications) to Amiad
     prior to the effective date of termination, regardless of when such orders are shipped; or releases and shipments on such
     orders take place.

     12) Confidentiality.
     "Confidential Information" shall mean all confidential, proprietary or secret information, including without limitation
     components, parts, drawings, data sketches, plans, programs, specifications, techniques, processes, algorithms, inventions and
     other information or material, owned, possessed or used by either Distributor or Amiad which is at any time so designated by
     such party in writing as "Confidential" or "Proprietary", whether by letter or by the use of a proprietary stamp or legend,
     before any such Confidential Information is disclosed to the other party. In addition, Confidential Information includes
     information that (i) would be apparent to a reasonable person, familiar with the disclosing party's business and the industry in
     which it operates, that such information is of a confidential or proprietary nature the maintenance of which is important to the
     disclosing party or (ii) is orally or visually disclosed to the other party or which is not designated in writing as confidential,
     proprietary or secret at the time of disclosure but within a reasonable time after such disclosure the disclosing party delivers
     to the receiving party a written document describing such Confidential Information and referencing the place and date of such
     disclosure and the names of the employees of the party to whom such disclosure was made. The provisions of Section 11
     notwithstanding, Confidential Information shall not include any information to the extent it (i) is or becomes a part of the
     public domain through no act or omission on the part of the receiving party, (ii) is disclosed to third parties by the disclosing




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              Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 32 of 96
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party without restriction on such third parties, (iii) is in th~ receiving party's possession, without actual or constructive
knowledge of an obligation of confidentiality with respect thereto, at or prior to the time of disclosure under this Agreement,
(iv) is disclosed to the receiving party by a third party having no obligation of confidentiality with respect thereto, (v) is
independently developed by the receiving party without reference to the disclosing party's Confidential Information or (vi) is
released from confidential treatment by written consent of the disclosing party.
13) Distributor agrees to indemnify Amiad and hold it harmless from and against any and all claims, damages, costs, and
expenses, including reasonable attorney fees, arising from Distributor's conduct under this agreement, including but not
limited to, any representation or warranty regarding Amiad's products made by or on behalf of Distributor or Amiad other
than as specifically authorized by Amiad in writing. Distributor will not be responsible for any breach of warranty by Amiad.

14) Should Distributor become aware of any customer dissatisfaction with any of Amiad's products, Distributor will endeavor
to notify Amiad in writing as soon as practicable.

15) Upon termination, neither party shall disparage the other to customers or any other person or entity, privately or publicly.
In the event of a breach of this provision following termination of this Agreement, either party shall have the right to seek
injunctive relief and I or damages from the other.

16) General. This Agreement contains the entire understanding of the parties, shall supersede any other oral or written
agreements, and shall be binding upon and inure to the benefit of the parties' successors and assigns. It may not be modified
in any way without the written consent of both parties. Distributor shall not have the right to assign this Agreement in whole
or in part without Amiad's written consent.

17) Governing Law. This Agreement shall be construed according to the laws of the State of Delaware.

18) Disputes and Arbitration. The parties agree that any disputes or questions arising hereunder, including the construction
or application of this Agreement, shall be settled by arbitration in accordance with the rules of the American Arbitration
Association then in force, and that the arbitration hearings shall be held in San Francisco, CA. If the parties cannot agree
upon an arbitrator within ten (10) days after demand by either of them, either or both parties may request the American
Arbitration Association for a list of five (5) potential arbitrators. Amiad shall strike the names of two (2) on this list, the
Distributor shall then strike two (2) names, and the remaining name shall be the arbitrator. The decision of the arbitrator
shall be final and binding upon the parties both as to law and to fact, and shall not be appealable to any court in any
jurisdiction. The parties shall share the expenses of the arbitrator equally, unless the arbitrator determines that the expenses
shall be otherwise assessed.

19) Notices. All notices, demands or other communications by either party to the other shall be in writing (whether email or
regular mail) and shall be effective upon personal delivery or if sent by mail seventy-two (72) hours after deposited in the
United States mail, first class postage, prepaid, Registered or Certified, and all such notices given by mail shall be sent and
addressed as follows until such time as another address is given by notice pursuant to this Section 19:
         Distributor: 220 West 93 Street, Suite 13A. New York NY 10025
         Amiad: [INSERT ADDRESS]

20) Limitation of Liability. In no event shall Distributor's cumulative liability to Amiad under this Agreement,
whether arising in contract, tort or otherwise and whether at common law or statute, exceed in the aggregate one
hundred percent of the purchase prices received by Amiad under this Agreement in the trailing twelve (12) months
from the date a claim arose. Further, in no event shall Distributor be liable for: (i) punitive, special, indirect,
incidental or consequential damages; or (ii) loss of profits or business, loss of revenues, loss of opportunities, loss of
savings, loss of or damage to data, loss of use damages or failure to realize expected savings arising out of this
Agreement even if Distributor has been advised of the possibility of such damages. Nothing in the foregoing provisions
shall preclude Distributor from obtaining injunctive or other non-financial relief to which it is entitled.

                                     [SIGNATURE PAGE FOLLOWS]




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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on the day and year first above written in
multiple counterparts, each of which shall be considered an original.

AGREED AND ACCEPTED:

Advanced Water Technologies Inc.:

Name: Matthias Kriesberg



Title: President

Date: _ _ _ __



Amiad USA, Inc.:

Name: Sharon Cohen                               Name: Matthew Miles

Sign: _____________~                              Sign: _____________~
Title: President                                         Title: Controller


Date: _ _ _ __                                              Date: - - - - -




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                                · 12iH Talbert Road

~' WATER SYSTEMS                 Mooresville, NC. 28117




  EXHIBIT A- PRICING LIST & DISCOUNTED PRICES

  CURRENT PRODUCT PRICING:                            DISCOUNTED BUY PRICE HEREUNDER:

                                             [INSERTl




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EXHIBIT B - FORM OF PURCHASE ORDER


                                               [INSERT]




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EXHIBIT C -AMIAD'S RETURN AND WARRANTY POLICY


                                                     [INSERT]




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     Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 37 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 5




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   am1ad®
   WATER SYSTEMS




  To:
  Advanced Water Technologies Inc. dba BETTER WATERS
  508 West 26 Street, Suite 9A
  New York, NY 10001

  Dear Mr. Kaye,

  Re: Annual Sales Target-Notice Letter

  This letter is further to the agreement between Amiad USA Inc. ("Amiad") and Advanced
·· · · waterTechriologies·liic:TffKWT'i) dateCf3lMay·2oos·(ilie"Agreemeiifi'fappolnting
  AWT as an exclusive distributor for the Market in the Territory (as such terms are defined
  in the Agreement).
   You hereby notified that as of January ist, 2016 and until 30th May 2016, the total volume
   of sales from Amiad stands on USD 81,892. According to the sales volume at this point of
   time in the year, Amiad anticipates that you will not reach your annual sales target for year
   2016. We remind A WT that according to the terms of the Agreement the sales volume for
   this year must be above USD 431,919.
   Therefore, in order for Amiad to. ensure that A WT will comply to its obligation under the
   Agreement and reach its sales goal for year 2016, Amiad requests that within the next 21
   days A WT will provide Amiad with a detailed plan that will show how A WT plans to reach
   its annual sales target. The plan must include details on potential prospects and the
   probability of receiving an order and performing delivery within 2016.
    Please note that it has come to Amiad's attention that AWT has been presenting competing
    products to Ami ad's products despite the trust Amiad has vested in AWT. AWT is an
    exclusive distributor, is far from reaching its sales target, and complying to the obligations
    in the Agreement. The above actions put AWT in breach of the spirit of the agreement and
    the relationship between parties. AWT is expected to make its best efforts to comply with
 . its obligationsunder the-Agreement,.andreach the annual salestarget. ····              · . ·---~···· ...
   Amiad reserves the right to take action in order to protect its interest and to make sure
   Amiad does not suffer any loss or damage before the end of the year, including the
   termination of exclusivity.
   Sincerely yours,

  ~~;;?~
   Matthew Miles
   Amiad USA Inc.




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 March 31, 2005

 Advanced Water Technologies Inc.
 (OBA Better Waters)
 Mr. Matthias Kriesberg
 220 West 93 Street, # 13A
 New York, NY 10025
 USA
 212 3660990
 800 720 7976 or 212 875 8763

 Re: Agreement between Amiad Filtration Systems and Advanced Water Technologies Inc.

 1) Amiad assigns distribution of its SAF and EBS series filtration products exclusively to AWf for
 wholesale and retail sales within the territory and markets defined below:

  Territory: New York City, 5 boroughs; Nassau & Suffolk counties. The territory is defined by
  location of the installation, or offices of the customer (i.e. a New York City customer may
  purchase a filtration product for installation at a location outside of New York City).

  Market: Domestic water supplies and potable water applications in buildings. HVAC applications
  are excluded from exclusivity.

  2) Renewal of this agreement will be automatic on an annual basis subject to the following:

  Quota: AWf must purchase an agreed $ volume from Amiad on an annual basis; if AWf does
  not do so, Amiad may elect to continue or discontinue the exclusive nature of the distribution
  agreement. The annual increase in sales I quota should be a reasonable number and will be
  jointly agreed between Amiad and Awr. If AWf meets the quota, it has an automatic right of
  renewal, subject to continued creditworthiness, continuing and responsible efforts to sell Amiad
  filtration, and responsible maintenance of equipment it has sold. The sales quota I target for
  NET purchases of Amiad products is US$ 55,000 in FY 2005 (i.e. January 1. December 31,
  2005).

  AWf is also permitted to sell Amiad filtration to customers outside of New York City, on a project-
  by-project basis. Prior to engaging in each project, AWf must obtain permission from Amiad.

  It is the premise of this agreement that Amiad and AWf will cooperate on efforts to sell Amiad
  filtration.



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  Amiad Filtration Systems



  Eric Rothberg                                    Matthias Kriesberg
  V.P. Sales & Marketing                           President




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              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 6




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                                                                      A division of Advanced Water Technologies Inc.




 August 1, 2016


 Mr. Matthew Miles
 Amiad USA, Inc.
 120-J Talbert Road
 Mooresville NC 28117

 Dear Mr. Miles:

 I received your letter of June 28th {attached) for some reason delayed. Below I respond
 to and hopefully illuminate some of the points you have raised.

 The letter overall is puzzling to me. First, with reference to the two figures you cite -
 $81,892 and $431,919 - please clarify how you arrived at these numbers. The former is
 much less than the volume we have purchased in 2016 to date {whether you
 are counting orders placed or invoices generated). The latter is not accurate, as the
 controlling agreement of March 31, 2005 {also attached) states an annual quota
 of $55,000 per year.

 The annual 55K quota remains in place unless changed by agreement of both parties.
 A WT has regularly exceeded its quota year after year since the inception of the 2005
 agreement, bringing you some millions of$ of sales since then. Per Section 2 of the
 attached 2005 agreement, as we have already exceeded our 2016 purchase volume,
 renewal of these exclusive distribution rights is automatic. We expect the agreement
 and our business relationship therefore to remain unchanged, as it has been for the past
 1O+ years, now through at least 2017. If and where you may disagree with the above,
 please explain.

 I am pleased to inform that we have a number of large orders we expect to send you in
 the next weeks or months, as well as others more likely to arrive in 2017. Even though we
 are currently holding purchase orders from customers, they are not actionable or
 enforceable until submittals are returned approved. That's why Amiad has not seen
 them. As soon as submittals in question are returned, we will be releasing respective
 orders with "deliver by" dates as is customary.

 As you may know, over the course of 2015 Sharon and I met on various occasions to
 discuss a more detailed contractual relationship. At the conclusion of these discussions,
 having reached agreement on most if not all points, Amiad forwarded to us an
 agreement that (1) omitted the essential terms concluded during discussions (e.g.
 assured. exclusivity subject to agreed purchase volumes) and (2) appeared to be a cut-
 and-paste extract from a boilerplate rep agreement that bore no relation to our
 understandings.

 Accordingly, I invested in the creation of a detailed agreement that represented our
 best efforts to define the agreed terms, including a much higher purchase volume.
 Amiad declined to act on the agreement. which I sent Sharon on two occasions via
 email. In the absence of a new agreement, we continue to operate under the
 controlling terms of the 3/31 /05 one.




    508 West 26 Street, Suite 9A New York NY 10001   phone 212 366 6700   www.betterwaters.com




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                                                                           A division of Advanced Water Technologies Inc.
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     AWT to Mr. Matthew Miles, August 1, 2016, page 2

     We remain committed to our business relationship with Amiad, and expect the same
     from Amiad. The 2005 agreement makes clear that Amiad will exclusively sell through
     A WT in the agreed territory if A WT meets its sales quota, which it has never failed to
     exceed since the year of agreement. At no time have we contemplated, or agreed, to
     represent only Amiad in the markets we serve. That would be entirely inconsistent with
     our commitment to serve our customers' interests first. I have made this clear to Amiad
     both in writing and orally, on numerous occasions, in particular since the time Sharon
     assumed the office of president of Amiad USA. In fact, our distribution relationships with
     some manufacturers predate our distribution relationship with Amiad.

     Moreover, we have observed some customer disappointment with Amiad over the past
     couple of years. You may or may not be fully aware of these issues, but certainly you
     have resources at hand to bring you up to speed. Naturally, poor user experience does
     not make our position representing Amiad easier.

     Your final paragraph is perplexing. What "right to take action" are you asserting on
     behalf of Amiad, and based upon which particulars referenced within the governing
     2005 agreement do you consider us to be not in accord with?

     Regarding your request for a "detailed plan", with "details on potential prospects ... ", I
     hope you will understand that we have confidentiality obligations to adhere to and thus
     cannot share company-sensitive information. That said, we can agree that in the normal
     course of doing business we regularly consult with Amiad engineering and quotations
     departments for accurate and up-to-date information that allows us to accurately
     specify and quote your equipment, so that we can properly support the engineering
    ·community in specifying on new projects. In that context, I have no objection to
     disclosing to you projects and equipment specifications that we have good reason to
     believe are approaching order status, or are currently being bid. However, our
     willingness to do so is understandably conditional on Amiad's reaffirmation of its
     commitment not to permit the sale of ordered products (per territory definitions, and
     otherwise project-specific where A WT has specifically advised Amiad) by any avenue
     other than through AWT distribution, per the existing 2005 agreement. Would you have
     reason to dispute concurrence with the above?

     Of course we expect Amiad to comply fully with its contractual obligation to forward to
     A WT (and to A WT exclusively) any inquiries by bidders or customers for Amiad products in
     our territory, or which through our efforts we have caused to be specified by engineers or
     property owners. I would appreciate Amiad's confirmation of the above. If otherwise,
     please notify me and we will need to address promptly.

     Our hope is to continue a prosperous business relationship.

     Sincerely,




     Matthias Kriesberg, President
     Advanced Water Technologies Inc. dba BETTER WATERS




         508 West 26 Street, Suite 9A New York NY 10001   phone 212 366 6700   www.betterwaters.com



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                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 7




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March 14111, 2017

Mr. Matt Kaye
Advanced Water Technologies Inc. dba BETTER WATERS
508 West 26 Street, Suite 9A
New York, NY 10001

Re: Amiad USA Inc.


Dear Matt,

This letter is further to previous discussions and notices Amiad USA Inc. (11Amiad") has
provided to Advanced Water Technologies Inc. ("AWT") with respect to setting and
complying with annual sales target, as well as lack of compliance to payment terms.
Amiad hereby notifies A WT that as of 151 April 2017 the exclusive appointment of A WT
in the Market in the Territory (as defined in the agreement between Amiad and AWT dated
31st March 2005) will be terminated.
Amiad will be happy to continue and cooperate with AWT in the marketing and sale of
Amiad's products as a non-exclusive distributor in the Market in the Territory, based on
Amiad's standard terms of distribution and subject to AWT complying with its payment
terms (up to the credit approved by Amiad and maintaining no overdue payments).




 Eric Peterson
 President
 Amiad Water Systems


 Cc: Nanny Balas
     Jeff Canil
     Eyal Yavin




                                         AMIAD                       FILTOMAT
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                                                                                ARKAL   PEP



Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 45 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 8




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 46 of 96
                                                                                A division of Advanced Water Technologies Inc.




          March 29, 2017


          Mr. Eric Peterson, President
          Amiad Water Systems
          Amiad USA Ltd.
          120 Talbert Road, Suite J
          Mooreville, NC 28117


          Dear Eric,

          We are in receipt of your March 14, 2017 letter purporting to terminate our distribution
          agreement as of April 1, 2017. That termination notice is rejected.

          As you know, the terms of our existing business arrangement and prior dealings, including
          the exclusive distribution rights held by Advanced Water Technologies Inc. ("AWT"),
          are governed by the Agreement between Amiad Filtration Systems ("Amiad") and A WT,
          dated March 31, 2005 (the "Agreement").

          The Agreement clearly defines the circumstances that provide for its automatic renewal.
          A WT exceeded its required purchase volume in 2016, and has already purchased more
          than the annual minimum required in 2017. Thus the Agreement is automatically
          renewed through at least 2018, just as it automatically renewed during each of the
          preceding twelve years of our arrangement.

          Amiad has no grounds to terminate the Agreement. AWT's creditworthiness is not in
          question, nor its responsible efforts to sell Amiad Filtration. Additionally, A WT has
          an excellent record of responsibly maintaining previously sold equipment in the field.

          I therefore look forward to your acknowledging concurrence with the terms of the
          Agreement. Should Amiad act on its threat to breach the exclusivity (or any other)
          provision of the Agreement, we will not hesitate to pursue all available avenues,
          including litigation, to enforce our rights.

          This letter is without prejudice to the rights and remedies of Advanced Water
          Technologies, Inc., which are expressly preserved.




          Matthias Kriesberg
          President, Advanced Water Technologies

          cc:
          Eric Henry, BDH LLP .
          Kristin Rosenblum, BDH LLP



P.O. Box 8545 JAF Station New York, NY 10116 phone 212.366.6700 toll-free 888.836.2006 fax 800.720.7976 www.betterwaters.com




         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 47 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                       Exhibit 9




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 48 of 96
From:                              Michael Poth < Michael.Poth@amiad.com>
Sent:                              Sunday, December 31, 2017 4:39 PM
To:                                Matt Kaye
Cc:                                Eric Peterson; Eyal Yavin
Subject:                           Re: follow up to our meeting



Hi Matt

Thanks for the response. We can coordinate a review of the issues you described after the new year, in the meantime I
want to get moving on a sales target for Betterwaters based on my assumption to move forward together. I have set a
target for Betterwaters this coming year, 2018, of $700,000 in total sales. I think that this is a fair target based on our
history together and the market potential and you can count on Amiad support getting there.

Let's regroup next week and discuss how we reach our goal.



Best Regards,

Michael Poth
President
Amiad U.S.A.
michael.poth@amiad.com
(704) 501-7605
www.amiadusa.com

Yes We Can!




From: Matt Kaye <matt@betterwaters.com>
Date: Monday, December 4, 2017 at 8:08 AM
To: Michael Poth <Michael.Poth@amiad.com>
Cc: Eric Peterson <Eric.Peterson@amiad.com>, Eyal Yavin <eyal.Yavin@amiad.com>
Subject: follow up to our meeting

Michael,

My thanks to you and your colleagues for taking the time to meet, and for the in-depth discussion.


                                                              1



            Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 49 of 96
I would think as a first step we should move forward on better establishing the conditions in the field question, using the
"representative sample" metric you proposed. I can begin the discussion with Eyal re how best to proceed logistically,
and then we would need to agree on a methodology that would give us all the kind of reasonably accurate info we are
looking for.

Please let me know if this seems right to you as the best way to proceed.

Thank you,

Matt




Matt Kaye, President

BETIER WATERS

508 West 26 Street, Suite 917

New York NY 10001


www.betterwaters.com

cell 917 696 2457

main 212 366 6700

mxk@betterwaters.com




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             Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 50 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                     Exhibit 10




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 51 of 96
                                                   Amiad USA Inc.
                                                   120-J Talbert Road. Mooresville, NC 28117
                                                                                               I
                                                                                               Tel: 1 704 6623133
                                                                                               Fa~:   1 704 662 3155
                                                                                                                       I   inrousa@amiad com
                                                                                                                           www.arniadusa.com



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  ADVANCED WATER TECHNOLOGIES                                 ADVANCED WATER TECHNOLOGIES
  BETIER WATERS- JAF STATION                                  BETIER WATERS- JAF STATION
  PO Box 8545                                                 PO Box8545
  NEW YORK NY 10116                                           NEWYORKNY 10116
  USA                                                         USA
  Contact:                                                     Contact:
  Tel: 212-366-0990                                            Tel: 212-366-0990
  Fax: 800-720-7976                                            Fax: 800-720-7976

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  9 VOLCANIC HILL                                              Payment Due:                        08/26/2017
  WANTAGE NJ 07461                                             Delivery Method:                    Road
  USA                                                           lncoterms:                         EXW AMIAD USA
  Contact:                                                      Sales Order:                        164748     Date:              07/03/2017
  Tel: 862-354-1946                                             Packing List No:                    80194743   Date:              07/26/2017
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     10       710103-005434                4 PC           54.54 USO                                                             218.16 USO
               CAP SAF-1500/3000/4500 NYLON 12 SLN DW                                                                  '
     20       710103-002165                 2 PC          11.88 USO                                                              23.76 USO
               CONNECTING PIN SAF-1500/3000/4500 S/ST316L
     30       700101-000945                 1 PC       1,723.50 USO                                                           1, 723.50 USO

               WEAVEWIRE SCREEN S/ST316L 4500SQ.CM 25MIC SAF-4500
     40       770102-000413                4 PC         0.54 USO                                                                   2.16 USO
               PARKER 0-RING 2-016 EPDM 70 SHORE OW
      50      990103-000413                1 PC       164.15 USO                                                                 164.15 USD
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   Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 52 of 96
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                                                                                                                                   infousa@amiad.com
                                                                                                                                   www amiadusa.c:om



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                                        Invoice No: 7300048108

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       Amiad USA, Inc. and TEQUATIC PLUS Product Lines' respective Standard
       Terms and Conditions Apply.
       TEQUATIC is a trademark of The Dow Chemical Company ("Dow") or an
       affiliated company of Dow, used under license.




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         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 53 of 96
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Better Waters
POBox8545
JAF Station
NewYork NY 10116
United States




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         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 54 of 96
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                                         120·J Tslbert Road, Mooresville, NC 2Bl 17
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                                                                                          Fax: 1 704 1>62 3155
                                                                                                                 I   infousa@arniad com
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  PO Box 8545                                        PO Box8545
  NEW YORK NY 10116                                  NEWYORKNY 10116
  USA                                                USA
  Contact:                                           Contact:
  Tel: 212-366-0990                                  Tel: 212-366-0990
  Fax: 800-720-7976                                  Fax: 800-720-7976

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   WANTAGE NJ 07461                                  Delivery Method:                      Road
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   Contact:                                           Sales Order:                          166626               Date:      07/19/2017
   Tel: 862-354-1946                                  Packing List No:                     80194741              Date:      07/26/2017
   Fax:                                               Quotation:                            20061604             Date:      06/30/2017
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      10 700101-000969                1 PC          3,072.60 USO                                                        3,072.60 USO
          WEAVEWIRE SCREEN S/ST316L 6000SQ.CM 25MIC SAF-6000
      20 710103-002228                4 PC             18.90 USO                                                            75.60 USO
          NOZZLE SAF-6000 POM SCANNER
      30 710103-002230                1 PC             15.66 USO                                                            15.66 USO
          CONNECTING PIN SAF-6000 SAE 1020
      40 770102-000182                1 PC             15.66 USO                                                            15.66 USO
          PARKER 0-RING 2-459 NBR 70 SHORE
      50 990103-000413                1 PC             64.04 USO                                                            64.04 USD
          FREIGHT CHARGES


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    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 55 of 96
                                         Amiad USA Inc.
                                         120-J Talbert Road, Maaresv11le. NC 28117
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                                                                                     Tel: 17046623133
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  Amiad USA, Inc. and TEQUATIC PLUS Product Lines' respective Standard
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    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 56 of 96
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                       waters
Better Waters
POBox8545
JAF Station
New York NY 10116
United States




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       Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 57 of 96
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   BETTER WATERS- JAF STATION                                        BETIERWATERS· JAF STATION
   PO Box 8545                                                       PO Box 8545
   NEWYORKNY 10116                                                   NEW YORK NY 10116
   USA                                                               USA
   Contact:                                                           Contact:
   Tel: 212-366-0990                                                  Tel: 212-366-0990
   Fax: 800-720-7976                                                  Fax: 800-720-7976

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    7 PARK LAKE ROAD, UNIT 9                                          lncoterms:                              OAP SPARTA NJ
    SPARTA NJ 07871                                                   Sales Order:                            169262           Date:    08/10/2017
    USA                                                               Packing List No:                        80197120         Date:    08/21/2017
    Contact:
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      10     710105-000090                               1 PC             1,492.20 USO                                             1,492.20 USO

              METAL HOUSING 2" IN-LINE BSPT S/ST316L SAND BLAST
      20     900101-001065                1 PC

               CARTON BOX RSC 440X310X210MM FOR 2" STEEL



                                                                   ITotal Price                                 I                   1,492.20 USO



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    Terms and Conditions Apply.
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    affiliated company of Dow, used under license.




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                                                                     Remit To: 7050 Solutions Center, Chicago, IL 60677-7000
                                                                     For ACH: Routing 021052053, Acct# 33554070




    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 58 of 96
                     better                                          Purchase Order
                     waters
Better Waters
PO Box 8545
JAF Station
NewYork NY 10116
United States




Amiad U.S.A. Inc.
7050 Solutions Center                                direct ship option tbd
Chicago IL 60677-7000
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 S.BLAST




 Amiad quotation No: 2006 !007




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      Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 59 of 96
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  ADVANCED WATER TECHNOLOGlES                                ADVANCED WATER TECHNOLOGIES
  BETIERWATERS- JAF STATION                                  BETTER WATERS- JAF STATION
  PO Box8545                                                 PO Box8545
  NEW YORK NY 10116                                          NEWYORKNY 10116
  USA                                                        USA
  Contact:                                                   Contact:
  Tel: 212-366-0990                                          Tel: 212-366-0990
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  BAY SHORE NY 11706                                          lncoterms:                          EXW AMIAD USA
  USA                                                         Sales Order:                         168538     Date:       08/04/2017
  Contact:                                                    Packing List No:                     80198784   Date:       08/31/2017
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     10 700101-000946                1 PC       1,976.40 USD                                                            1,976.40 USO
           WEAVEWIRE SCREEN S/ST316L 4500SQ.CM 50MIC SAF-4500
     20   770104-000080                           2 PC                21.06 USO                                           42.12 USO
           HYDRAULIC SEAL EPDM YELLOW DOT 70 SHORE SCREEN STEEL FILTER
     30   990103-000413                           1 PC                51.81 USD                                           51.81 USO
           FREIGHT CHARGES



                                                            Sub-total Order                                             2,018.52 USD
                                                            Order charQes                                                  51.81 USD
                                                            Total Price                                                 2,070.33 USO


   Amiad USA, Inc. and TEQUATIC PLUS Product Lines' respective Standard
   Terms and Conditions Apply.
   TEQUATIC is a trademark of The Oow Chemical Company ("Dow") or an
   affiliated company of Dow, used under license.




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   Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 60 of 96
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                   waters
Better Waters
PO Box 8545
JAF Station
New York NY 10116
United States




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 Amiad quotation No: 20062591




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      Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 61 of 96
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                                                       Amiad USA Inc.
                                                       120·J Talbert Road, Moorasv11te, NC 2B117
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                                                                                                   Tel: 1704662 3133
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                                                                                                                          infousa@am1ad.com
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  ADVANCED WATER TECHNOLOGIES                                     ADVANCED WATER TECHNOLOGIES
  BETTER WATERS- JAF STATION                                      BETTER WATERS- JAF STATION
  PO Box8545                                                      PO Box8545
  NEWYORKNY 10116                                                 NEW YORK NY 10116
  USA                                                             USA
  Contact:                                                        Contact:
  Tel: 212-366-0990                                               Tel: 212-366-0990
  Fax: 800-720-7976                                               Fax: 800-720-7976

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  BETTER WATERS                                                    Payment Terms:                      lnv+30 Days
  Matt Kaye                                                        Payment Due:                        10/06/2017
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  7 PARK LAKE ROAD, UNIT 9                                         lncotenns:                          OAP SPARTA NJ
  SPARTA NJ 07871                                                  Sales Order:                        169262    Date:           08/10/2017
   USA                                                              Packing List No:                   80199290  Date:           09f05/2017
   Contact:
   Tel:                                                             Customer PO:                       826
   Fax:                                                             Customer PO Date:
                                                                    BillOfLad.:
   DROP SHIP TO CUSTOMER PREPAY AND ADD
   CONTACT: MATI KAYE 212~66-6700



    Item      Materlal/Descriotlon                  Quantity U/M         . NET Price                                  Extended Amount          I
     10    990103-000413                              1 PC                 82.50 USD                                            82.50 USO
            FREIGHT CHARGES


                                                                IOrder charaes                           I                       82.50 USO
                                                                ITotal Price                             I                       82,50 USO


   Amiad USA, Inc. and TEQUATIC PLUS Product Lines' respective Standard
   Terms and Conditions Apply.
   TEQUATIC is a trademark of The Pow Chemical Company ("Dow") or an
   affiliated company of Dow, used under license.




00
ARKAL FILTOMAT    AMIAD       PEP
                                                                  Remit Ta: 7050 Solutions Center, Chicago, IL 60677-7000
                                                                  For ACH: Routing 021052053, Acct# 33554070



    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 62 of 96
                                                            Amiad USA Inc.
                                                            120-J Talbert Road, Mooresville. NC 28117
                                                                                                        I
                                                                                                        Tel: i 704 662 3133
                                                                                                        Fax 1 704 662 3155
                                                                                                                              I
                                                                                                                              infousa@amiad.com
                                                                                                                              www.amiadusa.com



                                                                                                                                  Page 1 of 1
                                    Invoice No: 7300049835
  ~Jn r~; ~000.1~ ..   . ..·. . . ., ; ... ·.· · .· ..                 qti&toirier: 200914.
  ADVANCED WATER TECHNOLOGIES                                          ADVANCED WATER TECHNOLOGIES
  BETTER WATERS~ JAF STATION                                           BETTER WATERS- JAF STATION
  PO Box 8545                                                          PO Box 8545
  NEWYORKNY 10116                                                      NEW YORK NY 10116
  USA                                                                  USA
  Contact:                                                             Contact:
  Tel: 212-366-0990
  Fax:    800-720-7976                                                 l~~~:2;;~;7~6~~9:7~
                                                                       ..---~......,,,.,-~.~
                                                                                           .. ·-·~
                                                                                                 ... =.. -...··~---~~-~~~
                                                                        lrif~mnation:
                                                                        Invoice Date:                       09/13/2017
   Shlp·t_o: 3.Q~]62                                                    Currency:                           USO
   METRO FILTER SALES INC.                                              Payment Terms:                      lnv+30 Days
   250 CLEARBROOK ROAD                                                  Payment Due:                        10/13/2017
   ELMSFORD NY 10523                                                    Delivery Method:                    Road
   USA                                                                  lncoterms:                          EXW AMlAD USA
  !contact:                                                             Sales Order:                        171474     Date:        09105/2017
  iTel: 914-826-8888                                                     Packing List No:                   80199762   Date:        09/08/2017

  rax:                                                                   Customer PO:
                                                                         Customer PO Date:
                                                                                                            832

                                                                         BillOfLad.:                        1Z235W870352330021
   NC SHIP 10~27-2017 UPS GROUND PPA




    Item     Material/Oescflrit1on .                     Quantity U/M           NET Price                                 Extended Amount
     10     770102-000167                1 PG                                   32.94 USO                                           32.94 USO
             PARKER 0-RING 2-430 NBR 70 SHORE
     20     990103-000413                1 PC                                     9.53 USO                                           9.53 USO
             FREIGHT CHARGES


                                                                      Sub-total Order                                               32.94 USD
                                                                      Order charnes                                                  9.53 USD
                                                                      Total Price                                                   42.47 USO


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   Terms and Conditions Apply.
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   affiliated company of Dow, used under license.




00
ARKAL FJLTOMAT    AMIAD
                                                                       Remit To: 7050 Solutions Center, Chicago, IL 60677-7000
                                                                       For ACH: Routing 021052053, Acct# 33554070




    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 63 of 96
                                                                 Arniad USA Inc..
                                                                  !20-J Talbert Road, Moornsv1l\P., NG 28117
                                                                                                                                                                         I    'fol I 70t, 662 3 l:la
                                                                                                                                                                              Fax 1 704 662 3155
                                                                                                                                                                                                                                                   I     mfo1Jsa@arniad.com
                                                                                                                                                                                                                                                         www.arniadusa.com



                                                                                                                                                                                                                                                                            Page 1of1 .
                                                 Invoice No: 7300050062
  ['81i!-r~·;··2·009-14-·······--,,-------·~-----=~~~--~I
                                                                                  Customer:. 200914
  !ADVANCED WATER TECHNOLOGIES                                                  l ADVANCED WATER TECHNOLOGIES
  iBETTER WATERS- JAF STATION                                                     BETTER WATERS- JAF STATION
  !PO Box8545                                                                     PO Box 8545
  !NEW YORK NY 10116                                                              NEW YORK NY 10116
  \USA                                                                            USA
  ·contact:                                                                           Contact:
  ·Tel: 212-366-0990                                                                  Tel: 212-366-0990
   Fax: 800-720-7976                                                                   Fax:                 800-720~7976
                                                                                     ....,.,,.,...~.......~....- -... -···~---~·~·--•---..• ...••--...--<"M"'"'"'"'"'"'..'M""'"_..,,_,,,,, ________,,,,.,._........,..,,..,,.,................,....,..,,...... -......
                                                                                                                                      ...,,_..,,,..,,,....,..-(~,.-     ..-.....i;,,_,..,,,,_   _,,~~---"""'"'"''             ..- ...............,,_...,,.....___,,,..,...,.......,-......,.......................              ~,




                                                                                      Information:
                                                                                      Invoice Date:                                                                                09/18/2017
   Ship-to: 302290                                                                    Currency:                                                                                    USD
   ERIC JENKINS                                                                       Payment Terms:                                                                                lnv+30 Days
   FILTRATION SERVICES, LLC.                                                           Payment Due:                                                                                 10/18/2017
   9 VOLCANIC HILL ROAD                                                              ! Delivery Method;                                                                             Road
   WANTAGE NJ 07461                                                                    lncoterms:                                                                                   EXW AMIAD USA
   USA                                                                                 Sales Order:                                                                                 163060      Date:                                                                               06/19/2017
   Contact:
   T 1


  E_      · _ - - - - - - - - - - - - - - - ' · Customer
                                                Bil!Oflad.:PO Date;
                                                                                     .
                                                                                     · Packing List No:
                                                                                       Quotation:
                                                                                           Customer PO:
                                                                                                                                                                                    80200565
                                                                                                                                                                                     20061069
                                                                                                                                                                                     812
                                                                                                                                                                                                                                                 Date:
                                                                                                                                                                                                                                                  Date:
                                                                                                                                                                                                                                                                                    09115/2017
                                                                                                                                                                                                                                                                                    06/12/2017


                                                                                                                                                                                     1Z235W870354067036
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   NC SHIP 9-25-2017 Y,PS GROUND OR BEST WAY




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                                    ..::.:..c:   .........   .,,.,. .. "'""'l   -~   ,,.   .             ·-  . --                                                                                                                             ...,.               II                      l"UUVU H.

      10    700190-002958                                     1        PC                            4,667.76 USO                                                                                                                                                    4,667.76 USO

             PISTON 100MM ASSY MTG 316
      20    990103-000413                                     1 PC                                               96.48 USO                                                                                                                                                         96.48 USO
             FREIGHT CHARGES


                                                                                 Sub-total Order                                                                                                                                                                      4,667.76 USO
                                                                                 Order charaes                                                                                                                                                                                      96.48 USD
                                                                                 Total Price                                                                                                                                                                           4,764.24 USO


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    Terms and Conditions Apply.
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                                                                                                                                                      ·--
0
f\RHAL flLTOMl\T     AMIAO          PEP
                                                                                     Remit To: 7050 Solutions Center, Chicago, IL 60677-7000
                                                                                     For ACH: Routing 021052053, Acct# 33554070



    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 64 of 96
           .·;..   ·., ..·· ...-·   ..   betfer                       Purchase Order
    •\   .. :;.
                                         waters
Better Waters
PO Box8545
JAF Station
NewYork NY 10116
United States




Amiad U.S.A. Inc.                                 EncJcnkms
7050 Solutions Center                             9 Volcanic Hill Ro:itl
Chicago IL 60677-7000                             Wantage ~J 07461
                                                  Unitcti States




                                                                           Total   S4,667.76




         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 65 of 96
                                          Am'1ad USA Inc.
                                          120·J Talbert Read, Mooresville, NC 28117
                                                                                      I
                                                                                      in\: 1704662 3133
                                                                                      Fax: 1704662 3155
                                                                                                          Iinfousa@amiad.com
                                                                                                           www.amiadusa.com



                                                                                                               Page 1of1
                             Invoice No: 7300050537
  Biif Toi ·201)'~14   .    ..                       Customer: 20()9.14
  ADVANCED WATER TECHNOLOGIES                        ADVANCED WATER TECHNOLOGIES
  BETIER WATERS- JAF STATION                         BETIER WATERS· JAF STATION
  PO Box 8545                                        PO Box 8545
  NEW YORK NY 10116                                  NEW YORK NY 10116
  USA                                                USA
  Contact:                                           Contact:
  Tel: 212-366-0990                                  Tel: 212-366-0990
  Fax: 600-720-7976                                  Fax: 800-720-7976

                                                      Information:
                                                      Invoice Date:                       10/02/2017
  sti1p-tc.i: 3cias2a                                 Currency:                           USO
  BETIER WATERS                                       Payment Terms:                      lnv+30 Days
  7 PARK LAKE ROAD, UNIT 9                            Payment Due:                        11/01/2017
  SPARTA NJ 07871                                     Delivery Method:                    Road
  USA                                                  lncoterms:                         EXW AMIAD USA
  Contact:                                             Sales Order:                       171638      Date:      0910612017
  Tel:                                                 Packing List No:                   80202441    Date:      10/02/2017
  Fax:
                                                       Customer PO:                       REPL-826
                                                       Customer PO Date:
                                                       BillOfLad.:                        1Z235W870354362501
   REPLACM~ENT OF Miss guoit:D PART/HOUSING
   EXPECTED SHIP 11-3-2017              ....



    Item     Material/Descrlotlon     .Quantitv   U/M         NET Price        -·                         Extended Amount I
    10     710105-002658                   1 PC             622.42 USO                                          822.42 USO
            SAF-4500 LID SZSZ 5017 ST.37-2 RESIC OW


                                                   ITotal Price                             I                   822.42 USO


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ARKAL FILTOMAT AMIAO      PEP
                                                      Remit To: 7050 Solutions Center, Chicaqo, IL 60677-7000
                                                      For ACH: Routing 021052053, Acct# 33554070



   Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 66 of 96
                    better                                              Purchase Order
                    waters
Better Waters
PO Box 8545
JAF Station
New York NY 10116
United States




Amiad U.S.A. Inc.                                      Better Waters
7050 Solutions Center                                  Mall Kaye
Chicago IL 60677-7000                                  220 West 93nl Street
                                                       New York, NY I 0025




      ·-
710105-002658 SAF.iJ.$00 LID SZSZ 5017 ST.37-2 RCSIC
ow




                                                                              Total   $822.42




     Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 67 of 96
                                             Arni ad USA Inc.
                                             120-J Talbert Road, Mooresville, NC 28117
                                                                                         I
                                                                                         Tel. 1 704 662 3133
                                                                                         Fax. 1704662 3155
                                                                                                               I
                                                                                                               inlousa@arniad com
                                                                                                               www arniadusa.com



                                                                                                                    Page 1of1
                                   Invoice No: 7300051309
  Biii To: 200914                                       custtime·r: goos14. ·
  ADVANCED.WATER TECHNOLOGIES                           ADVANCED WATER TECHNOLOGIES
  BETIER WATERS- JAF STATION                            BETTER WATERS- JAF STATION
  PO Box 8545                                           PO Box8545
  NEW YORK NY 10116                                     NEW YORK NY 10116
  USA                                                   USA
  Contact:                                              Contact:
  Tel: 212-366-0990                                     Tel: 212-366-0990
  Fax: 800-720-7976                                     Fax: 800-720-7976

                                                         h1forination:
                                                         Invoice Date:                       11/02/2017
   ~.fiJp_~~(J:.~~:s.:r.~f   .                           Currency:                           USO
   METRO FILTER SALES INC.                               Payment Terms:                      lnv+30 Days
   250 CLEARBROOK ROAD                                   Payment Due:                        12/02/2017
   ELMSFORD NY 10523                                     Delivery Method:                    Road
   USA                                                   lncoterms:                          EXW AMIAD USA
   Contact:                                              Sales Order:                        171474    Date:          09/05/2017
   Tel: 914-826-8888                                     Packing List No:                    80205642  Date:          11/01/2017
   Fax:
                                                         Customer PO:                        832
                                                         Customer PO Date:
                                                         BlllOfLad.:                         1Z235W870352757384
   NC SHIP10-27-2017 UPS GROUND PPA




     Item      Meterlal/Descrlptlon    Quantity U/M              NET Price                                 Extended Amount
      10    770102·000179                ; PC                  105.30 USO                                           105.30 USO
             PARKER 0-RING 2-455 NBR 70 SHORE
      20    990103-000413                1     PC                13.91 USO                                           13.91 USO
              FREIGHT CHARGES


                                                       Sub-total Order                                              105.30 USO
                                                       Order charQes                                                  13.91 USO
                                                       Total Price .                                                119.21 USO


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ARKAL FILTOMAT       AMIAD       PEP
                                                        Remit To: 7050 Solutions Center, Chicago, IL 60677~7000
                                                        For ACH: Routing 021052053, Acct# 33554070



    Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 68 of 96
                     better                                               Purchase Order
                    waters
Better Waters
PO Box8545
JAF Station
NewYork NY 10116
United States




Amiud U.S.A. Inc.                                      Metro Filter Sales Inc
7050 Solutions Center                                  250 Clearbrook Road
Chicago IL 60677-7000                                  Elmsford NY I0523
                                                       United Slates




770102-000111} PARKER O·RING 2-45:5 NOil 70 SHORE                               25.00    2$.00
(13LUE)
770l02·000167 PARKER 0-RING 2...130 NI.lit 70 SHOR[~                            20.00    :?0.00
(BLUE)




                                                                                 Total            S4S.OO




      Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 69 of 96
 1>•·----~---····----·---~--   . . ·•····-···   ·---~--···'·""'"-··-·-·····-   . ,..,.....·-···-··· ·······   ··----~--··········"'"·'--··--   ·-- ········-··-·-··-········   J   ·-·   ••   •••••   -·--·~ .. · · · · - · " · · ·   ·-····




                                                                                                     Ami;;d USA Inc.
                                                                                                     120-J Talbert Road, Mooresv1llc, NC 28117
                                                                                                                                                                               I   TeL 1 704 662 3133
                                                                                                                                                                                   Fax 1 7046623155
                                                                                                                                                                                                                                      I        iilfousa@amiad.com
                                                                                                                                                                                                                                               www.arniadusa.com
                                                                                                                                                                                                                                                           l




                                                                                                                                                                                                                                                   Page 1of1
                                                               Invoice No: 7300053598
  Bill To: 200914                                                                                                           customer: 200914 · ·
  ADVANCED WATER TECHNOLOGIES                                                                                           . ADV'ANCE'b WATER TECHNOLOGIES
  BETTER WATERS- JAF STATION                                                                                              BETIER WATERS- JAF STATION
  PO Box 8545                                                                                                             PO Box 8545
  NEW YORK NY 10116                                                                                                       NEW YORK NY 10116
  USA                                                                                                                     USA
  Contact:                                                                                                                Contact:
  Tel: 212-366-0990                                                                                                       Tel: 212-366-0990
  Fax: 800-720-7976                                                                                                       Fax: 800-720-7976

                                                                                                                             l11forrr.i~tlon;
                                                                                                                             Invoice Date:                                          02/15/2018
   Ship-to: 309355                                                                                                           Currency:                                              USD
   ASTOR PLACE                                                                                                               Payment Terms:                                         lnv+30 Days
   ATTN JIMMY GJOKAJ                                                                                                         Payment Due:                                           03/17/2018
   445 LAFAYETIE ST                                                                                                          Delivery Method:                                       Road
   NEW YORK NY 10003                                                                                                         lncotenns!                                             EXW AMIAD USA
   USA                                                                                                                       Sales Order:                                            184229     Date:                                                 01/30/2018
   Contact:                                                                                                                  Packing List No:                                        80215560   Date:                                                 02/13/2018
   Tel:
   Fax:                                                                                                                       Customer PO:                                           849
                                                                                                                              Customer PO Date:
                                                                                                                              BillOfLad.:                                            ESTES 010-9782984
    NC.SHIP AIR FREiGHT$S5o.oo
    AT 20066301                                 .



       ltam ·r~1atarlal/Descrlil'tion · ·auariiiiV :wii.i    NE"fPrice                                                                                                                                                          Extended Amount ·
        10 710105-001014                   1 PC           2,308.50 USO                                                                                                                                                                            2,308.50 USD
            SAF-3000 HOUSING 3" ASA/BSTD PKPK 3002 ST.37-2 POLYESTER
        20 990103-000413                   1 PC             289.47 USD                                                                                                                                                                              289.47 USD
            FREIGHT CHARGES, AIR $650.00


                                                                                                                         Sub-total Order                                                                                                          2,308.50 USO
                                                                                                                         Order charges                                                                                                              289.47 USD
                                                                                                                         Total Price                                                                                                              2,597.97 USO


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ARHAL FILTOMAT                    AMIAD                  PEP
                                                                                                                           Remit To: 7050 Solutions Center, Chicago, ll 60677-7000
                                                                                                                           For ACH: Routing 021052053, Acct# 33554070



     Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 70 of 96
                    ARKAl   F~OIMT   AM!AD
                                             ~:.1
                                             PEP
                                                    Amiad USA Inc.
                                                    120·J Talbert Ro act, Mooresville. NC 2B 117
                                                                                                   I
                                                                                                   Tel: 1 704 662 3133
                                                                                                   Fax: 1 704 662 3155
                                                                                                                         I
                                                                                                                         mfousa@am1ad.com
                                                                                                                         www.amiadusa.c;om



                                                                                                                             Page 1 of 1
                                 Invoice No: 7300053640
  81li fo: 200914                                               cusfom'er: 200914                       ,
  ADVANCED WATER TECHNOLOGIES                                   ADVANCED WATER TECHNOLOGIES
  BETTER WATERS- JAF STATION                                    BETTER WATERS~ JAF STATION
  PO Box 8545                                                   PO Box8545
  NEW YORK NY 10116                                             NEW YORK NY 10116
  USA                                                           USA
  Contact:                                                      Contact:
  Tel: 212~366~0990                                             Tel: 212-366-0990
  Fax: 800-721)...7976                                          Fax: 800.-120-797$

                                                                 lnfqrinatlon:
                                                                 Invoice Date:                         02/20/2018
  Shtp-_to~_3oe911.                                              Currency:                             USD
  BETTER WATERS                                                  Payment Terms:                        lnv+30 Days
  509 WEST 26th STREET                                           Payment Due:                          03/22/2018
  NEW YORK NY 10001                                              Delivery Method:                      Courier
  USA                                                            lncoterms;                            DDP NEW YORK NY 10001
   Contact:                                                      Sales Order:                          184879      Date: 02/06/2018
   Tel: 212-366-6700                                             Packing List No:                      80215228    Date: 02/20/2018
   Fax:
                                                                  Customer PO:                         850
                                                                  Customer PO Date:
                                                                  BillOfLad.:
   ISRAEL SHlPMENT BEST WAY AIR PPA




     ltem     Materlal/Descriptfon  Quantity U/M   NET Price                                                         Extended Amount· ]
     10     770104-000147             i PC        35.64 USO                                                                    35.64 USO
             GASKET NATURAL 267MMX220MMX2MM 70 SHORE AMF


                                                              ITotal Price                              l                      35.64 USO


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ARl<AL FlLTOMAT   AMIAD       PEP
                                                                Remit To: 7050 Solutions Center, Chicago, IL 60677-7000
                                                                For ACH: Routing 021052053, Acct# 33554070




   Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 71 of 96
                     ARK/\l FUOMAT   AMIAO     PEP
                                                         Arniad USA Inc.
                                                         120·J Talbert Road, Moorrwv11lr;i, NC 28117
                                                                                                       I
                                                                                                       Tel: 1 704 662 31'.33
                                                                                                       Fax: 1704 6623155
                                                                                                                               j 1nfousa@amiad.com
                                                                                                                                www amiodusa.com



                                                                                                                                       Page 1of1
                                 Invoice No: 7300053878
  Blll To: 200914_                           . , ,_                  customer-: 200~14
  ADVANCED WATER TECHNOLOGIES                                        ADVANCED WATER TECHNOLOGIES
  BETIER WATERS- JAF STATION                                         BETIERWATERS~ JAF STATION
  PO Box8545                                                         PO Box8545
  NEW YORK NY 10116                                                  NEW YORK NY 10116
  USA                                                                USA
  Contact:                                                           Contact:
  Tel: 212-366-0990                                                  Tel: 212-366-0990
  Fax: 800-720-7976                                                  Fax: 800-720-7976


                                                                     1jlfq!'ri)ation:
                                                                     lnvolce Date:                         02/22/2018
   Ship~to:   309355                                                 Currency:                             USD
   ASTOR PLACE                                                       Payment Terms:                        lnv+30 Day?
   ATIN JIMMY GJOKAJ                                                 Payment Due:                          03/24/2018
   445 LAFAYETTE ST                                                  Delivery Method:
   NEW YORK NY 10003                                                  lncoterms:                           EXW AMIAD USA
   USA                                                                Sales Order:                         184229              Date:    01/30/201 S
   Contact:                                                           Packing List No:                     80216591            Date:    02/22/2018
   Tel:
   Fax:                                                               Customer PO:                         849
                                                                      Customer PO Date:
                                                                      BillOfLad.:
   NC SHIPAtR FREIGHT $650.00
   AT 20066301 -. - ·.·



    Item      Materlal/Oe~forlotlon                   Quantltv :WM            NET Price                                    Extended      Amount
     10 990103-000413                                   1 PC                650.00 USO                                                 650.00 USO
              AIR FREIGHT COST $650.00



                                                                  IOrder charoes                             I                         650.00 USO
                                                                  ITotal Price                               I                         650.00 USD


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   Terms and Conditions Apply.
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   affiliated company of Dow, used under license.




00
Ml.HAL FILTOMAT AMIAD        PEP
                                                                    Remit To: 7050 Solutions Center, Chicago, IL 60677~7000
                                                                    For ACH: Routing 021052053, Acct# 33554070



   Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 72 of 96
                             better                                                                                                   Purchase Order
                             waters
Better Waters
POBox8545
JAF Station
NewYork NY 10116
United States




Amiad U.S.A. Inc.                                                                                                 Jimmy Gjok11j
7050 Solutions Center                                                                                             Astor Pince
Chicago IL 60677~7000                                                                                             445 Lafaycllc Street
                                                                                                                  New York NY 10003
                                                                                                                  United Stutes




                                                                                                                 ,,
Item: ', :., , ::~ ·_ alian~iJy,_;::: ~':·D.escr,fptfO:n :": ·..:.:_:;;.;:~*t: _'   .:::. ·. -·>:>.   ,_,.   ~        :Options·· ,   " ."   . &lte: \ ,.. ·: ·Am9unt··    .· Tag.'._3'.-"Y":
 /\mind                                  SAF300tl      1lt~r hou•ingCS              s
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 frd!lhl·                                Air frdgl11                                                                                                 C.50.00        Mil.Oil
 inbciund, COS·
nun·invcncnry




 /\mind quote 20066301




                                                                                                                                                   Total                        $2,573.75




          Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 73 of 96
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  WATER SYSTEMS
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                                                AMI.AO   P!!'I>
                                                                     Arniad USA lnc.
                                                                     120-J Talbert Road, Mooresville, NC 28117
                                                                                                                 I
                                                                                                                 Till: 1 704 662 3133
                                                                                                                 Fax: 1 70.\ 662 3155
                                                                                                                                        Imfous.a@arrnad.com
                                                                                                                                         www.amiadusa.com



                                                                                                                                                Page 1of1
                                            Invoice No: 7300054256
     Bill To: 200914                                                            G.u.~tgmer: 200914
     ADVANCED WATER TECHNOLOGIES                                                ADVANCED WATER TECHNOLOGIES
     BETTER WATERS- JAF STATION                                                 BETIER WATERS- JAF STATION
     PO Box 6545                                                                PO Box 6545
     NEW YORK NY 10116                                                          NEW YORK NY 10116
     USA                                                                         USA
     Contact:                                                                    Contact:
     Tel: 212-366-0990                                                           Tel: 212-366-0990
     Fax: 800-720-7976                                                           Fax: 800·720-7976

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                                                                                 Invoice Date:                       03/07/2018
     Ship~to:'3oss~1 ·                                                           Currency:                           USO
     BETTER WATERS                                                               Payment Terms:                      lnv+30 Days
     509 WEST 26th STREET                                                        Payment Due:                        04/06/2018
     NEW YORK NY 10001                                                           Delivery Method:
     USA                                                                         lncoterms:                          EXW AMlAD USA
     Contact:                                                                    Sales Order:                        184879             Date:    02/06/2018
     Tel: 212~366-6700                                                           Packing List No:                    80217918           Date:    03/06/2018
     Fax:
                                                                                  Customer PO:                       850
                                                                                  Customer PO Date:
                                                                                  BiUOfLad.:
      ISRAEL SHIPMENT BEST WAY ATR PPA




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         10   990103-000413                                         1   PC               33.00 USO                                               33.00 USD
               FREIGHT CHARGES


                                                                              IOrder charaes                           I                         33.00 USO    I
                                                                              ITotal Price                             I                         33.00 USO


      Amiad USA, Inc. and TEQUATIC PLUS Product Lines' respective Standard
      Terms and Conditions Apply.
      TEQUATIC is a trademark of The Dow Chemical Company ("Dow") or an
      affiliated company of Dow, used under license .




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                                     ...~:-.:                                   Remit To: 7050 Solutions Center, Chicago, IL 60677-7000
   ARKAL FILTOMAT AM!AD            PEP                                          For ACH: Routing 021052053, Acct# 33554070



         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 74 of 96
                     better                                                                        Purchase Order
                     waters
Better Waters
P08ox8545
JAF Station
New York NY 10116
United States




Amind U.S.A. Inc.
7050 Solutions Cllntl!r                                                         REn't'.R WATm~s
Chicago IL 60677-7000                                                           508 Wcsl 26 Street, Suite 917
                                                                                New York NY 10001
                                                                                United Stati:s




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 Per email info last 1.124.118. Please fly this part direct from Israel if possible to our omcc BETTER WATERS 508 West 26 Street, Suite 917 New
 York NY IOOOL Shipping dmrgc additional to item price, Thank you.




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      Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 75 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                     Exhibit 11




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 76 of 96
 Matthew Miles

From:                             Matt Kaye < matt@betterwaters.com>
Sent                              Thursday, March 15, 201810:30 AM
To:                               Matthew Miles
Cc;                               Sandra Thompson; Michael Poth; Eyal Yavin
Subject:                          Re: FW: ADVANCED WATER 200914


Quite right, understood.

We are coming out of a rough few months but revenue starting to come in now, we'll start paying down from the oldest first and catch up with all. Nat sure if
we can get to zero by end of this month, but substantially there in any case. First payment(s) early next week.

Thank you,

On Wed, Mar 14, 2018 at 9:15 AM, Matthew Miles <Matt.miles@amiad.com> wrote:

Matt,

We need to start receiving payments. You owe over $21K with the oldest invoice dated back to August.




If payment isn't received by EOM I will have to pursue other options.




Thanks




Matthew Miles

Director of Finance/Controller

                                                                              l




                             Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 77 of 96
 Direct: 704-235-15471

 Fax:   704-662-3155
 Mobile: 704-995-2845

 www.amiadusa.com

www.pepfilters.com




    am1ad®    WATER SYSTEMS


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From: Matt Kaye [mailto:matt@betterwaters.com]
Sent: Tuesday, February 27, 2018 3:56 PM
To: Sandra Thompson <Sandra.Thompson@amiad.com>
Cc: Matt Kaye <mxk@betterwaters.com>; Matthew Miles <Matt.miles@amiad.com>
Subject: Re: FW: ADVANCED WATER 200914




Understood, payments will start to come before too much longer, much appreciate.d.




On Tue, Feb 27, 2018.at 3:13 PM, Sandra Thompson <Sandra.Thompson@amiad.com> wrote:

REMINDER!

                                                                           2




                            Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 78 of 96
       Hello Matt,




      To date we still have not received payment for the past due invoices. Please review the attached statement and advise when we can expect payment.




      Thank you and have a great day!




      Please email a!11nvofces, sfotements, and AP inquiries   to accountsreceivable@amiad.com



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     www.amiadusa.com

     www.pepfilters.com




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                                           Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 79 of 96
                120-J Tafbert Road Mooresville. NC - USA 28117




  • 1           From: Sandra Thompson
               Sent: Monday, January 29, 2018 12:53 PM
 '        i    To: Matt Kaye <mxk@betterwaters.com>
               Cc: Matthew Miles <Matt.miles@amiad.com>
               Subject: FW: ADVANCED WATER 200914
               Importance: High




               Hello Matt,




              Any upd<ite on when we can expect payment?




, ! Thank you and have a great day!
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          www.amiadusa.com

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                                           Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 80 of 96
 www.pepfilters.com




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          y                  ~·
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 120-J Talbert Road Mooresville, NC- USA 28117




 From: Sandra Thompson
Sent: Thursday, January 11, 2018 4:32 PM
To: Matt Kaye <mxk@betterwaters.com>
Cc: Matthew Miles <Mattmiles@amiad.com>
Subject: FW: ADVANCED WATER 200914
Importance: High




Hello Matt,




We have not heard anything from you. The last payment we received for this account was in October of last year.




Please review the attached statement and advise when we can expect payment.




Thank you and have a great day!

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                                       Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 81 of 96
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  www.amiadusa.com

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  AAXl,.I. ~       PE'P   ~




  120-J Talbert Road Mooresville, NC- USA 28117




 From: Sandra Thompson
 Sent: Wednesday, January 03, 2018 3:30 PM
 To: Matt Kaye <mxk@betterwaters.com>
 Cc: Matthew Miles <Matt.miles@amiad.com>
 Subject: FW: ADVANCED WATER 200914
 Importance: High




                                                                 6




                                 Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 82 of 96
  REMINDER!




 Hello Matt,




 Please advise when we can expect the ne:>tt payment.




 Thank you and have a great day!




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120-J Talbert Road Mooresville, NC - USA 28117




From: Sandra Thompson
Sent: Monday, December 11, 201712:43 PM
To; Matt Kaye <mxk@betterwaters.com>
Cc: Matthew Miles <Matt.miles@amiad.com>
Subject: FW: ADVANCED WATER 200914
Importance: High




Hello Matt,




Your account is still showing $21,314.13 past due. Pfease review the attached statement and advise when we can expect our next payment.



Please let me know if you have any questions.




Thank you and have a great day!




                                                                          lJ;




                                  Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 84 of 96
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~          ~          PEP           AJ.11>.l)




120-J Talbert Road Mooresville, NC- USA 28117




From: Sandra Thompson
Sent: Tuesday, November 21, 2017 11:46 AM
To: Matt Kaye <mxk@betterwaters.com>
Cc: Matthew Miles <Matt.miles@amiad.com>; Better Waters <awaters@betterwaters.com>; Eyal Yavin <eyal.Yavin@amiad.com>
Subject: ADVANCED WATER 200914
Importance: High




Hello Matt,


                                                                                 9




                                                Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 85 of 96
 : Currently, this account is showing $21,314.13 past due. Please review the attached current statement and advise when we can expect our next payment.




  Please let me know if you have any questions.




  Thank you and have a great day!




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 120-J Talbert Road Mooresville. NC- USA 28117

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                                         Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 86 of 96
 Matt Kaye, President

 BITTER WATERS

 508 West 26 Street. Suite 917

 New York NY 10001


 www.bettef"'Naters.com

 cell 917 696 2457

 main 212 366 6700

 mxk@betterwaters.com




~J



Matt Kaye, President

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                            Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 87 of 96
BEITER WATERS

508 West 26 Street, Suite 917

New York NY 10001


www.betterwaters.com

cell 917 696 2457

main 212 366 6700

mxk@betterwaters.com




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                            Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 88 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                     Exhibit 12




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 89 of 96
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 am1ad®
 WATER SYSTEMS
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                                         April 13, 2018



Matt Kaye
Advanced Water Technologies, Inc.
P.O. Box 8545
JAF Station
New York, NY
10116

RE:    Breach of Contract

Dear Matt:

As you know, Advanced Water Technologies, Inc. ("AWT") has breached its distribution contract
("Contract") with Amiad USA, Inc. ("Amiad").

In particular, AWT has repeatedly failed to pay a long overdue invoice for Amiad equipment in
the amount of approximately $18,085.27. Amiad has sent AWT several demands for payment
over the last few months, each demand marked "high importance.'' But, AWT has failed to pay,
and continues to fail to pay, this long past due amount. This conduct on the part of AWT is a clear
breach of AWT's Contract with Amiad. Timely payment of invoices is one of AWT's most
fundamental obligation under the Contract.

Consequently, Amiad hereby immediately terminates the distribution contract between
Amiad and AWT dated March 31, 2005 (a copy of which is enclosed for reference).

By separate letter, Amiad will seek collection from AWT of the financial damages Amiad has
suffered as a result of AWT's breach of contract.


                                             Sincerely,




                                             Michael Poth, President
                                             Amiad, USA




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                                                                               AMIAD        FILTOMAT      ARKAL             PEP




 Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 90 of 96
         am lad® FILTRATION                SYSTEMS

        March 31, 2005

        Advanced Water Technologies Inc.
        (OBA Better Waters)
        Mr. Matthias Kriesberg
        220 West 93 Street, # 13A
        New York, NY 10025
        USA
        2123680990
        eoo 720 7976 or 212 a1s 8763
        f!tfii: Aqf!@lfOt ~n Amlad Fllttdpt\SU.tilmt aRd lidJ@!W!d Wpful!~tllmlQ,glu m,,

        1) Amlad assigns distribution of Its SAF and EBS series filtration products exclusively to AWf for
        wholesale and retall sales within the territory and markets defined below:

        Territory: New York City, 5 boroughs; Nassau & Suffolk counties. The territory Is defined by
        location of the installation, or offices of the customer (i.e. a New York City customer may
        purchase a filtration product for installation at a location outside of New York City).
{_      Mamet: Domestic waler supplies and pot.able water applications in buildings. HVAC applications
        are excluded from exclusivity.

        2) Renewal of this agreement will be automatic on an annual basis subject to the following:

        Quota: Awr must purchase an agreed $ volume from Amiad on an annual basis; if AWT does
        not do so, Amiad may elect to continua or discontinue the exclusive nature of the distribution
        agreement The annual increase in sales I quota should be a reasonable number and will be
        jointly agreed between Amied and AWT. If Awr meats tha quota, it has an automatic right of
        renewal, subject to continued creditworthiness, continuing and responsible efforts to self Amiad
        filtratlon, and responsible maintenance Of equipment It has sold. The saln quota I target for
         NET purchases of Amlad products Is US$ 55,000 In FY 2005 (I.e. January 1 .. December 31.
         2005).

        AWT Is also pennitted to sell Amlad filtration to customars outside of New York City, on a project-
        by-project basis. Prior to engaging in each project, AWT must obtain pennission from Amlad.

         It is the premise of this agreement that Amiad and AWT will cooperate on efforts to sell Amiad
         flltrallon.

         Amiad Filtration Systems                         Advanced Water Technologies lnc.

                                                         0.           ~~                              '
         Eric Rothberg                                    Matthias Kriesberg    ~
(        V.P. Sales &. Marketing                          Presidant




     Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 91 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                     Exhibit 13




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                                       BUHLER
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                                       &I-IENRY
 BY FEDERAL EXPRESS AND
 REGULAR MAIL

                                                                           May l, 2018


 Amiad USA, Inc.
 120 Talbert Rd., Suite J
 Mooresville, NC 28117
 Attn: Michael Poth

               · Re:        Agreement Between Amiad Filtration Systems and Advanced Water
                            Technologies, Inc.


 Dear Mr. Poth:
         I represent Advanced Water Technologies, Inc. ("A WT") and am in receipt of your April 13,
 2018 letter (the "Letter") purporting to terminate lhe Agreement Between Amiad Filtration Systems and
 Advanced Water Technologies, Inc., dated March 31, 2005 (the "Agreement").
          Your Letter is merely the latest among many attempts hy Amiad to find a pretext to tenninate a
 perfectly valid contract that Amiad no longer wants, and your notice of termination is rejected.
         AWT has not breached of the Agreement. In fact, there is no mention in the Agreement of a
 payment schedule or a unilateral right to terminate if invoices are not paid in full in by any date certain.
 To the contrary, over the last thirteen years, Amiad has always maintained a flexible payment schedule
 with A WT, in accordance with the companies' course of dealings and industry standards. Moreover,
 Arriiad cannot temiinate the Agreement for non-compliance with a tenn that does not exist in the
 Agreement.
          At most, the Agreement hinges automatic renewal (but by no means creates a right of
  termination) on AWT's "creditworthiness." I can assure you that AWT's creditworthiness is not in
  question, and it will be happy to provide you with evidence to that effect.
          Notwithstanding the foregoing and without waiving any rights or remedies, which are expressly
  reserved, enclosed herewith is a payment of $17,399.63, representing the outstanding balance according
  to AWT's records, after subtracting the $6,664.68 payment made by AWT on March 26.
          We take this opportunity to remind you, as my client has in the past, that SAF-series filters
  supplied by Amiad in New York City buildings are presenting an escalating number of quality control




                    Buhler Duggal 11 Henry LLP • 404                   Fifth Avenue, New York, NY 10018




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 May I, 2018
 Michael Poth
 Page 2 of2

 issues, the most notable of which being premature corrosion which has resulted in significant operational
 malfunction. These unresolved issues have caused AWT reputational damage and loss of business.
 Although we are hopeful that we can resolve these issues amicably, if Amiad does not take steps to
 investigate and take action to correct these problems in a timely manner, AWT will have no choice but to
 pursue legal action. Please contact me directly, or if you are represented by counsel, have him or her
 contact me, at+ l (212) 393-4 757 to advise as to how Arni ad plans to address these product defects.
         This letter is without prejudice to AWT's rights and remedies which are expressly reserved.



                                         11:d1!~
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                                          Kristin Rosenblum




  Enclosure.




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 94 of 96
              Amiad U.S.A., Inc.
                     v.
          Advanced Water Technologies
                No. 18-cv-520

          Declaration of Matthew Miles



                     Exhibit 14




Case 1:18-cv-00520-LCB-JLW Document 12-1 Filed 08/28/18 Page 95 of 96
           Scott F. Wyatt
                                       WYATT EARLY HARRIS WHEELER                                              OFFICE ADDRESS

                                          ATTORNEYS AND COUNSELLORS AT LAW                                        SUITE400
· · ·····WRITER'S DIRECT NUMBER . ..                                                                   ....... 1912 EASTCRESfERDIWE .
          (336) 819-6007                                                                                        HIGH POINT, NC 27265

                                                                                                              OFFICE TELEPHONE
    WRITER'S DIRECT FACSIMILE                                                                                  (336) 884-4444
          (336) 819-6067
                                                          May 18, 2018                                         OFFICE FACSIMILE
                                                                                                               (336) 884-1102
      WRITER'S DIRECT E-MAIL
      swyatt@wehwlaw .corn                                                                                       WEBSITE
                                                                                                             WWW.WEHWLAW.COM




Kristin Rosenblum
Buhler Duggal & Henry
404 Fifth Avenue, New York, NY 10018

Re:         Agreement between Amiad U.S.A., Inc. and Advanced Water Technologies Inc.

Dear Ms. Rosenblum,

This firm represents Amiad U.S.A., Inc. ("Amiad"). I have reviewed your May 1, 2018 letter to
Mr. Poth, Amiad's President.

 Based on my reading of your letter, it appears you are taking the position that Amiad could never
 cancel the March 31, 2005 Agreement (the "Agreement") due to your client's late payments, no
 matter how late those payments get, because the Agreement does not specifically include a
 payment term. That is not the law in North Carolina. At the very least, under the North Carolina
 Uniform Commercial Code, your client had an obligation to pay within a reasonable time. Seven
 plus months is not a reasonable time. I have seen no evidence to support your assertion that
 either industry standards or a course of dealing allowed for such lateness. Due to your client's
 severely late payments, my client properly cancelled the Agreement via Mr. Poth's April 13,
 2018 letter.

 Additionally, your letter included a check for $17,399.63. Our records indicate that your client
 actually owed $18,085.27. Because the check was marked "balance due", we are unable to cash
 it, and hereby demand the full amount due.

 Finally, given the obvious dispute abou,t Mr. Poth's cancellation of the Agreement, we have filed
 suit requesting a declaration from the Court that the Agreement was properly cancelled, and also
 a request for a judgment in the amount owed by your client. Enclosed with this letter is a
 courtesy copy of that Complaint. If you would like to discuss it, please feel free to contact me.

                                                                        Sincerely,


                                                                              .<   (;


                                                                      .··· ouyatt

  SFW/jn
  Enclosure

            Wyatt Early Horris Wheeler LLP • 1912 Eastchester Drive • P.O. Drawer 2086 • High Point, NC 27261 • 336.884.4444

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